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Fill in this information to identify your case:


United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                        Chapter       11
                                                                                                                                Check if this an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Hytera America Incorporated

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                       Mailing address, if different from principal place of
                                                                                                    business

                                  3315 Commerce Parkway
                                  Miramar, FL 33025
                                  Number, Street, City, State & ZIP Code                            P.O. Box, Number, Street, City, State & ZIP Code

                                  Broward                                                           Location of principal assets, if different from principal
                                  County                                                            place of business

                                                                                                    Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.hytera.us/


6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          Partnership (excluding LLP)
                                          Other. Specify:




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Debtor    Hytera America Incorporated                                                                   Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                              Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                              Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                              Railroad (as defined in 11 U.S.C. § 101(44))
                                              Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                              Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                              Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                              None of the above

                                       B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                              Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                              Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3663

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                              Chapter 7
     debtor filing?
                                              Chapter 9
                                              Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                              Chapter 12



9.   Were prior bankruptcy                 No.
     cases filed by or against
     the debtor within the last 8
     years?                            Yes.
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number

10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                  Relationship
                                                  District                                 When                              Case number, if known




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor   Hytera America Incorporated                                                             Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal              Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs         Yes.
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                               It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                               It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                               Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                               No


                                           Yes.        Insurance agency
                                                       Contact name
                                                       Phone



         Statistical and administrative information

13. Debtor's estimation of      .        Check one:
    available funds
                                            Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                            1,000-5,000                                 25,001-50,000
    creditors
                                    50-99                                           5001-10,000                                 50,001-100,000
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                             $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   Hytera America Incorporated                                                               Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      05/25/2020
                                                  MM / DD / YYYY


                             X                                                                            Ni Huang
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X                                                                             Date 05/26/2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 John W. Lucas
                                 Printed name

                                 Pachulski Stang Ziehl & Jones LLP
                                 Firm name

                                 10100 Santa Monica Blvd.
                                 13th Floor
                                 Los Angeles, CA 90067-4003
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     310-277-6910                  Email address      jlucas@pszjlaw.com

                                 271038 CA
                                 Bar number and State




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 In re   Hytera America Incorporated                                       Case No.
                                                     Debtor(s)



                                       FORM 1. VOLUNTARY PETITION
                                  Pending Bankruptcy Cases Filed Attachment


Name of Debtor/District                            Case No./Relationship              Date Filed/Judge

Hytera Communications America (West), Inc.         As Assigned/Affiliate              5/26/2020/As Assigned

Central District of California - Santa Ana



HYT North America, Inc.                            As Assigned/Affiliate              5/26/2020/As Assigned

Central District of California - Santa Ana
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                           UNANIMOUS WRITTEN CONSENT
                           OF THE BOARD OF DIRECTORS OF
                          HYTERA AMERICA INCORPORATED


       Pursuant to Section 607.0821 of the Florida Business Corporations Act, the undersigned,
being all of the directors of Hytera America Incorporated, a Florida corporation (the
“Corporation”), hereby consent to and adopt in all respects the following resolution, and such
consent shall have the same force and effect as a vote of the undersigned at a meeting of the
Board of Directors of the Corporation (the “Board”) duly called and held.

        The undersigned, being all of the directors of the Corporation, acting pursuant to the
authority of Section 4.7 of the Amended and Restated Bylaws of the Corporation hereby (i)
adopt the resolutions attached hereto, and (ii) direct that a signed copy of this Unanimous
Written Consent be filed with the Minutes of the proceedings of the Board.

                                          *   *   *

       IN WITNESS WHEREOF, the undersigned directors do hereby execute this Unanimous
Written Consent as of the latest date set forth below.



       Date: May 25, 2020                  ______________________________
                                                 Ni Huang


       Date: May 25, 2020                  ______________________________
                                                 Craig A. Barbarosh




                                                                              Doc. # DC-15049691
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                           UNANIMOUS WRITTEN CONSENT
                           OF THE BOARD OF DIRECTORS OF
                          HYTERA AMERICA INCORPORATED


       Pursuant to Section 607.0821 of the Florida Business Corporations Act, the undersigned,
being all of the directors of Hytera America Incorporated, a Florida corporation (the
“Corporation”), hereby consent to and adopt in all respects the following resolution, and such
consent shall have the same force and effect as a vote of the undersigned at a meeting of the
Board of Directors of the Corporation (the “Board”) duly called and held.

        The undersigned, being all of the directors of the Corporation, acting pursuant to the
authority of Section 4.7 of the Amended and Restated Bylaws of the Corporation hereby (i)
adopt the resolutions attached hereto, and (ii) direct that a signed copy of this Unanimous
Written Consent be filed with the Minutes of the proceedings of the Board.

                                          *   *   *

       IN WITNESS WHEREOF, the undersigned directors do hereby execute this Unanimous
Written Consent as of the latest date set forth below.



       Date: May ____, 2020                       ______________________________
                                                  Ni Huang




       Date: May 25, 2020                         ___
                                                  Craig A. Barbarosh




                                                                              Doc. # DC-15049691
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                                   Resolutions
                                        of
                           Hytera America Incorporated
                              a Florida corporation


                                 [See attached.]




                                                                 Doc. # DC-15049691
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                                SECRETARY’S CERTIFICATE
                                                OF

                             HYTERA AMERICA, INCORPORATED.

                                          May 25, 2020


        The undersigned hereby certifies that she is the duly elected and incumbent Secretary of
Hytera America, Inc., a Florida corporation (the “Company”), and in such capacity certifies that
(a) attached hereto is a true, complete and correct copy of the resolutions adopted by the board of
directors of the Company by unanimous written consent as of May 25, 2020 and (b) such
resolutions have not been amended, modified or rescinded and remain in full force and effect as
of the date hereof.

        IN WITNESS WHEREOF, the undersigned has executed this Secretary’s Certificate to
be effective as of the date first set forth above.



                                             __________________________________
                                             Name: Yueyue Wang
                                             Title: Secretary




     SIGNATURE PAGE TO SECRETARY’S CERTIFICATE OF HYTERA AMERICA, INC.




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                                           EXHIBIT A

                     RESOLUTIONS OF THE BOARD OF DIRECTORS OF
                                    HYTERA AMERICA, INC.

               WHEREAS, the Board of Directors (the “Board”) of Hytera America, Inc. (the
“Company”), a Florida corporation, acting pursuant to the laws of the State of Florida, has
considered the financial and operational aspects of the Company’s business;

                WHEREAS, the Board has reviewed the historical performance of the Company,
the market for the distribution of the Company’s products, and the current and long-term liabilities
of the Company;

                WHEREAS, the Board has, over the last several months, reviewed the materials
presented by the management of and the advisors to the Company regarding the possible need to
restructure the Company, and has analyzed each of the strategic alternatives available to it, and the
impact of the foregoing on the Company’s business and its stakeholders;

                NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Board, it is
desirable and in the best interests of the Company, its creditors, employees, common stockholders,
and other interested parties that a petition be filed by the Company seeking relief under the
provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), and the
filing of such petition is authorized hereby, and the Company shall initiate a chapter 11 case and
proceedings under the Bankruptcy Code;

               RESOLVED, that the officers of the Company (each, an “Authorized Officer”)
be, and each of them hereby is, authorized and directed on behalf of the Company to prepare or
cause to be prepared, execute, verify and file all petitions, schedules, lists, and other papers or
documents, and to take and perform any and all further actions and steps that any such Authorized
Officer deems necessary, desirable and proper in connection with the Company’s chapter 11 case,
with a view to the successful prosecution of such case;

                RESOLVED, that the Authorized Officers be, and each of them hereby is, on behalf
of the Company, authorized, empowered and directed to retain the law firm of Pachulski Stang
Ziehl & Jones LLP (“PSZ&J”) as bankruptcy counsel to represent and assist the Company in
carrying out its duties under chapter 11 of the Bankruptcy Code, and to take any and all actions to
advance the Company’s rights in connection therewith, and the Authorized Officers be, and each
of them hereby is, authorized and directed to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon the filing of the bankruptcy petition, and to
cause to be filed an appropriate application for authority to retain the services of PSZ&J;

               RESOLVED, that the Authorized Officers be, and each of them hereby is, on behalf
of the Company, authorized, empowered and directed to retain the law firm of Steptoe & Johnson
LLP (“Steptoe”) as corporate and special counsel to represent and assist the Company and advise
the Company with respect to tax, corporate, intellectual property, and litigation (including
appellate) matters, and to take any and all actions to advance the Company’s rights in connection
therewith, and the Authorized Officers be, and each of them hereby is, authorized and directed to


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execute appropriate retention agreements, pay appropriate retainers prior to and immediately upon
the filing of the bankruptcy petition, and to cause to be filed an appropriate application for authority
to retain the services of Steptoe;

                RESOLVED, that the Authorized Officers be, and each of them hereby is, on behalf
of the Company, authorized, empowered and directed to retain the services of Imperial Capital,
LLC as its exclusive financial advisor (“Imperial”), effective as of the date the petition is filed,
and in connection therewith, the Authorized Officers be, and each of them hereby is, authorized
and directed to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the bankruptcy petition, and to cause to be filed an appropriate
application for authority to retain the services of Imperial as of the petition date;

               RESOLVED, that the Authorized Officers of the Company be, and each of them
hereby is, authorized and directed to employ any other professionals necessary to assist the
Company in carrying out its duties under the Bankruptcy Code; and in connection therewith, the
officers of the Company are hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers prior to or immediately upon the filing of the bankruptcy
petition and cause to be filed appropriate applications with the bankruptcy court for authority to
retain the services of any other professionals, as necessary, and on such terms as are deemed
necessary, desirable and proper;

                RESOLVED, that the Authorized Officers be, and each of them hereby is,
authorized on behalf of the Company to take any and all actions, to execute, deliver, certify, file
and/or record and perform any and all documents, agreements, instruments, motions, affidavits,
applications for approvals or rulings of governmental or regulatory authorities or certificates and
to take any and all actions and steps deemed by any such Authorized Officer to be necessary or
desirable to carry out the purpose and intent of each of the foregoing resolutions and to effectuate
a successful chapter 11 case, including, but not limited to, postpetition financing, a sale of the
Company’s assets, the development, filing and prosecution to confirmation of a chapter 11 plan
and related disclosure statement; and

                RESOLVED, that any and all actions heretofore taken by any current or former
Authorized Officer or current or former directors of the Company in the name and on behalf of the
Company in furtherance of the purpose and intent of any or all of the foregoing resolutions be, and
hereby are, ratified, confirmed, and approved in all respects.




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 Fill in this information to identify the case:
 Debtor name Hytera America Incorporated
 United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                                        Check if this is an
                                                CALIFORNIA
 Case number (if known):                                                                                                                            amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and
Are Not Insiders (on a Consolidated Basis)


A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims (on a consolidated basis with entities listed on Form 1 to the Debtor’s petition).


 Name of creditor and complete             Name, telephone number and email address        Nature of claim      Indicate if   Amount of claim
 mailing address, including zip            of creditor contact                             (for example,         claim is     If the claim is fully unsecured, fill in only unsecured
 code                                                                                      trade debts,        contingent,    claim amount. If claim is partially secured, fill in total
                                                                                           bank loans,        unliquidated,   claim amount and deduction for value of collateral or
                                                                                           professional        or disputed    setoff to calculate unsecured claim.
                                                                                           services, and                      Total claim,       Deduction     Unsecured claim
                                                                                           government                         if partially       for value of
                                                                                           contracts)                         secured            collateral
                                                                                                                                                 or setoff
 Motorola Solutions, Inc.                  Brandon Hugh Brown, Counsel                     Judgment          Disputed                                           $764,561,156.00
 500 West Monroe Street                    Kirkland & Ellis LLP                            entered in
 Chicago, IL 60661                                                                         favor of
                                           Email:                                          Motorola
                                           brandon.brown@kirkland.com                      Solutions,
                                                                                           Inc. and
                                           Telephone: (415) 439-1670                       Motorola
                                                                                           Solutions
                                                                                           Malaysia
                                                                                           SDN.BHD

 Motorola Solutions Malaysia               Brandon Hugh Brown, Counsel                     Judgment          Disputed                                           $764,561,156.00
 SDN.BHD                                   Kirkland & Ellis LLP                            entered in
 Plot 2 Medan Bayan Lepas,                                                                 favor of
 Technoplex 11900 Bayan                    Email:                                          Motorola
 Lepas Penang                              brandon.brown@kirkland.com                      Solutions,
                                                                                           Inc. and
                                           Telephone: (415) 439-1670                       Motorola
                                                                                           Solutions
                                                                                           Malaysia
                                                                                           SDN.BHD

 SAF Tehnika JSC                           Vladimir Rojas                                  Trade                                                                       $620,231.00
 24A, Ganibu Dambis Riga
 LV-1005 Latvia                            Email:
                                           Vladimir.Rojas@saftehnika.com

                                           Telephone: 011 371 670 468 40

                                           Facsimile: 011 371 670 468 09



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                page 1

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 Debtor    Hytera America Incorporated                                                                       Case number (if known)
           Name

 Name of creditor and complete             Name, telephone number and email address        Nature of claim      Indicate if   Amount of claim
 mailing address, including zip            of creditor contact                             (for example,         claim is     If the claim is fully unsecured, fill in only unsecured
 code                                                                                      trade debts,        contingent,    claim amount. If claim is partially secured, fill in total
                                                                                           bank loans,        unliquidated,   claim amount and deduction for value of collateral or
                                                                                           professional        or disputed    setoff to calculate unsecured claim.
                                                                                           services, and                      Total claim,       Deduction     Unsecured claim
                                                                                           government                         if partially       for value of
                                                                                           contracts)                         secured            collateral
                                                                                                                                                 or setoff
 TeleExpress Inc.                          Craig Weekley                                   Trade                                                                       $128,390.00
 406 Interstate Drive
 High Point, NC 27263                      Email:
                                           craigw@telexpressinc.com

                                           Telephone: (336) 862-7405

 Exhibivent LLC                            Richard Prioletti                               Trade                                                                        $65,235.09
 1121 Palmer Court
 Crystal Lake, IL 60014                    Email: info@exhibivent.com

                                           Telephone: (815) 382-3202

 CommScope Technologies                    Sonia Adams                                     Trade                                                                        $62,311.00
 LLC
 PO Box 9687                               Email:
 Chicago, IL 60693                         Soina.Adams@commscope.com

                                           Telephone: (708) 873-8859

                                           Facsimile: (779) 435-8579

 Times Microwave                           Linda Parks                                     Trade                                                                        $58,282.40
 PO Box 8500-4475
 Philadelphia, PA 19178-                   Email:
 4475                                      Linda.Parks@timesmicro.com

                                           Telephone: (336) 862-7405

                                           Facsimile: (203) 949-8423

 Service Communications                    Rachel Romero                                   Trade                                                                        $43,407.70
 100 Henderson Road
 Lafayette, LA 70508                       Email: Sales@Servicecommla.com

                                           Telephone: (337) 252-2646

 CDW Direct                                Accounting                                      Trade                                                                        $41,311.37
 200 North Milwaukee
 Avenue                                    Email:
 Vernon Hills, IL 60061                    CustomerRelations@web.cdw.com

                                           Telephone: (877)-571-7031




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                page 2

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 Debtor    Hytera America Incorporated                                                                       Case number (if known)
           Name

 Name of creditor and complete             Name, telephone number and email address        Nature of claim      Indicate if   Amount of claim
 mailing address, including zip            of creditor contact                             (for example,         claim is     If the claim is fully unsecured, fill in only unsecured
 code                                                                                      trade debts,        contingent,    claim amount. If claim is partially secured, fill in total
                                                                                           bank loans,        unliquidated,   claim amount and deduction for value of collateral or
                                                                                           professional        or disputed    setoff to calculate unsecured claim.
                                                                                           services, and                      Total claim,       Deduction     Unsecured claim
                                                                                           government                         if partially       for value of
                                                                                           contracts)                         secured            collateral
                                                                                                                                                 or setoff
 Panorama Antennas                         José Fontanillas                                Trade                                                                        $39,826.80
 1551 Heritage Parkway
 Suite 101                                 Email:
 Manfield, TX 76063                        sales.nam@panorama-antennas.com

                                           Telephone: (787) 402 8190

 Samlex America, Inc.                      Jason Eckert                                    Trade                                                                        $28,842.50
 103-4268 Lozells Avenue
 Burnaby, BC V5A 0C6 CA                    Email:
                                           jason@samlexamerica.com

                                           Telephone: (800) 561-5885

                                           Facsimile: (888) 814-5210

 Tyco Integrated Security                  Accounting                                      Trade                                                                        $15,867.62
 LLC
 PO Box 371967                             Email: Unable to locate
 Pittsburgh, PA 15250-7967
                                           Telephone: (800) 701-8449

 Seminole Wire & Cable Co.,                Sue                                             Trade                                                                        $15,017.10
 Inc.
 7861 Airport Highway                      Email:
 Pennsauken, NJ 08109                      customer.service@seminolewire.com

                                           Telephone: (800) 346-4378

                                           Facsimile: (856) 438-6875

 Fiplex Communications, Inc. Ricardo De Goycoechea                                         Trade                                                                        $13,992.00
 Drawer 2346, PO BOX 5935
 Troy, MI 48007-5935         Email:
                             elizabeth@fiplex.com

                                           Telephone: (305) 884-8991

 Tessco                                    Accounting                                      Trade                                                                        $13,842.59
 11126 McCormick Road
 Hunt Valley, MD 21031                     Email: Unable to locate

                                           Telephone: (800) 472-7373

                                           Facsimile: (410) 229-1480




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                page 3

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 Debtor    Hytera America Incorporated                                                                       Case number (if known)
           Name

 Name of creditor and complete             Name, telephone number and email address        Nature of claim      Indicate if   Amount of claim
 mailing address, including zip            of creditor contact                             (for example,         claim is     If the claim is fully unsecured, fill in only unsecured
 code                                                                                      trade debts,        contingent,    claim amount. If claim is partially secured, fill in total
                                                                                           bank loans,        unliquidated,   claim amount and deduction for value of collateral or
                                                                                           professional        or disputed    setoff to calculate unsecured claim.
                                                                                           services, and                      Total claim,       Deduction     Unsecured claim
                                                                                           government                         if partially       for value of
                                                                                           contracts)                         secured            collateral
                                                                                                                                                 or setoff
 Rapicom Communications,                   Patricia Prias                                  Trade                                                                        $12,177.21
 Inc.
 3830 W. 11 Avenue                         Email:
 Hialeah, FL 33012                         rapicom@comcast.net

                                           Telephone: (239) 353-1171

 Brunal Air Cargo                          Mark Scanlon                                    Trade                                                                        $10,504.39
 Paramount House
 Suite 117, Delta Way                      Email:
 Egham, Surrey                             mscanlon@brunalaircargo.co.uk
 TW20 8RX, UK
                                           Telephone: 44 (0) 1384230381

 PCM Link                                  Joseph Cronin                                   Trade                                                                          $7,748.52
 11999 San Vicente Blvd.
 Los Angeles, CA 90049                     Email: Unable to locate

                                           Telephone: (310) 472-4031

 United Parcel Service                     Accounting                                      Trade                                                                          $7,473.00
 PO Box 7247-0244
 Philadelphia, PA 19170-                   Email: Unable to locate
 0001
                                           Telephone: (630) 628-4486

 Adcom Worldwide, Inc.                     Gaby Cavallo                                    Trade                                                                          $6,804.74
 PO Box 844722
 Dallas, TX 75284                          Email:
                                           gcavallo@adcomworldwide.com

                                           Telephone: (817) 329-8090

 DLS Worldwide                             Accounting                                      Trade                                                                          $5,577.00
 PO Box 932721 RR
 Donnelley                                 Email: Unable to locate
 Cleveland, OH 44193
                                           Telephone: (877) 744-3818

 Expeditors Intl-LA                        Kathleen M. Vogel                               Trade                                                                          $4,605.02
 12200 S. Wilkie Avenue
 Suite 100                                 Email:
 Hawthorne, CA 90250                       kathleen.vogel@expeditors.com

                                           Telephone: (206) 834-7975




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                page 4

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 Debtor    Hytera America Incorporated                                                                       Case number (if known)
           Name

 Name of creditor and complete             Name, telephone number and email address        Nature of claim      Indicate if   Amount of claim
 mailing address, including zip            of creditor contact                             (for example,         claim is     If the claim is fully unsecured, fill in only unsecured
 code                                                                                      trade debts,        contingent,    claim amount. If claim is partially secured, fill in total
                                                                                           bank loans,        unliquidated,   claim amount and deduction for value of collateral or
                                                                                           professional        or disputed    setoff to calculate unsecured claim.
                                                                                           services, and                      Total claim,       Deduction     Unsecured claim
                                                                                           government                         if partially       for value of
                                                                                           contracts)                         secured            collateral
                                                                                                                                                 or setoff
 Pinacle                                   Accounting                                      Trade                                                                          $4,400.00
 The Tower at PNC Plaza
 300 Fifth Avenue                          Email: Unable to locate
 Pittsburgh, PA 15222
                                           Telephone: (800) 843-2206

 K12 Prospects                             Accounting                                      Trade                                                                          $4,220.00
 3941 Doral Drive
 Tampa, FL 33634                           Email: sales@k12Prospects.com

                                           Telephone: (800) 829-8560

                                           Facsimile: (877) 691-6833


 Echo Global Logistics Inc.                James Brill                                     Trade                                                                          $3,882.81
 22168 Network Place
 Chicago, IL 60673-1221                    Email:
                                           James.Brill@echo.com

                                           Telephone: (800) 354-7993

 Insight Direct USA, Inc.                  Ken Lamneck                                     Trade                                                                          $3,759.66
 910 W. Carver Road
 Suite 110                                 Email: Unable to locate
 Tempe, AZ 85284
                                           Telephone: (480) 902-1000

 3E Tech                                   Feng Xiao                                       Trade                                                                          $3,750.00
 2800 Glades Circle
 Suite 109                                 Email:
 Weston, FL 33327                          Feng@DragonLingua.Com

                                           Telephone: (954) 907-8818

 Pandeta                   Accounting                                                      Trade                                                                          $3,750.00
 7108 S. Alton Way
 Building H                Email: Unable to locate
 Centennial, CO 80112-2123
                           Telephone: (305) 846-000

                                           Facsimile: (303) 792-2390

 Phoenix AC & Heating Inc.                 Mike Van Deren                                  Trade                                                                          $3,595.00
 23192 Verdugo Drive
 Suite B                                   Email: Unable to locate
 Laguna Hills, CA 92653
                                           Telephone: (949) 481-0204


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                page 5

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 Debtor    Hytera America Incorporated                                                                       Case number (if known)
           Name

 Name of creditor and complete             Name, telephone number and email address        Nature of claim      Indicate if   Amount of claim
 mailing address, including zip            of creditor contact                             (for example,         claim is     If the claim is fully unsecured, fill in only unsecured
 code                                                                                      trade debts,        contingent,    claim amount. If claim is partially secured, fill in total
                                                                                           bank loans,        unliquidated,   claim amount and deduction for value of collateral or
                                                                                           professional        or disputed    setoff to calculate unsecured claim.
                                                                                           services, and                      Total claim,       Deduction     Unsecured claim
                                                                                           government                         if partially       for value of
                                                                                           contracts)                         secured            collateral
                                                                                                                                                 or setoff
 Advertising Edge Inc.                     Chad Jochens, President                         Trade                                                                          $3,325.38
 9840 Prospect Avenue
 Santee, CA 92071                          Email:
                                           sales@advedge.com

                                           Telephone: (800) 258-9774

                                           Facsimile: (619) 258-9780




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                page 6

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Attorney or Party Name, Address, Telephone & FAX Nos., and State Bar No. &         FOR COURT USE ONLY
Email Address
Ira D. Kharasch (CA Bar No. 109084)
John W. Lucas (CA Bar No. 271038)
Victoria A. Newmark (CA Bar No. 183581)
Jason H. Rosell (CA Bar No. 269126)
PACHULSKI STANG ZIEHL & JONES LLP
10100 N. Santa Monica Blvd., 13th Floor
Los Angeles, California 90067
Telephone: (310) 277-6910
Facsimile: (310) 201-0760
E-mail:     ikharasch@pszjlaw.com
            jlucas@pszjlaw.com
            vnewmark@pszjlaw.com
           jrosell@pszjlaw.com




    [Proposed] Attorneys for: Hytera America Incorporated
                                                UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

In re:                                                                        CASE NO.:
         Hytera America Incorporated                                          ADVERSARY NO.:
                                                                   Debtor(s), CHAPTER:  11



                                                                  Plaintiff(s),
                                                                                    CORPORATE OWNERSHIP STATEMENT
                                                                                      PURSUANT TO FRBP 1007(a)(1)
                                                                                        and 7007.1, and LBR 1007-4


                                                                                                                   [No hearing]
                                                              Defendant(s).

Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
of any class of the corporation’s equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

I, Ni Huang                                                                   , the undersigned in the above-captioned case, hereby declare
                 (Print Name of Attorney or Declarant)
under penalty of perjury under the laws of the United States of America that the following is true and correct:




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
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[Check the appropriate boxes and, if applicable, provide the required information.]
1.      I have personal knowledge of the matters set forth in this Statement because:
            I am the president or other officer or an authorized agent of the Debtor corporation
            I am a party to an adversary proceeding
            I am a party to a contested matter
            I am the attorney for the Debtor corporation
2.a.        The following entities, other than the debtor or a governmental unit, directly or indirectly own 10% or more of any
            class of the corporation’s(s’) equity interests:
            See Addendum
   b.       There are no entities that directly or indirectly own 10% or more of any class of the corporation’s equity interest.

05/25/2020                                                                              By:
Date                                                                                            Signature of Debtor, or attorney for Debtor

                                                                                        Name:         Ni Huang, President
                                                                                                      Printed name of Debtor, or attorney for
                                                                                                      Debtor




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
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                     Addendum to Corporate Ownership Statement Pursuant to
                  F.R.B.P. 1007(a)(1) and 7007.1, and Local Bankruptcy Rule 1002-5
The following entities, other than the debtor or a governmental unit, directly or indirectly own 10% or more of any
class of the corporation’s(s’) equity interests:

HYT North America, Inc.
320 International Pkwy
Sunrise, FL 33325




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
              Case 8:20-bk-11508-TA                           Doc 1 Filed 05/26/20 Entered 05/26/20 14:13:48                                        Desc
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                                                              United States Bankruptcy Court
                                                                     Central District of California
 In re      Hytera America Incorporated                                                                               Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder

 HYT North America, Inc.
 320 International Pkwy                                                               100%                                       Equity Interest
 Sunrise, FL 33325


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date 05/25/2020                                                               Signature
                                                                                            Ni Huang

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                 STATEMENT OF RELATED CASES
                              INFORMATION REQUIRED BY LBR 1015-2
               UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
   against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
   copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
   corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
   and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
   assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
   included in Schedule A/B that was filed with any such prior proceeding(s).)
None

2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
   Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
   debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
   debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
   complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
   and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
   any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
None

3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
   previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
   of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
   of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
   or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
   such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
   still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
   A/B that was filed with any such prior proceeding(s).)
None

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
   been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
   proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
   pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
   that was filed with any such prior proceeding(s).)
None


I declare, under penalty of perjury, that the foregoing is true and correct.
Executed at      Irvine                                            , California.
                                                                                                     Signature of Debtor
                                                                                                     Ni Huang, President




                  This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

October 2018                                                              Page 1              F 1015-2.1.STMT.RELATED.CASES
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 Fill in this information to identify the case:

 Debtor name         Hytera America Incorporated

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          05/25/2020                              X
                                                                      Signature of individual signing on behalf of debtor

                                                                      Ni Huang
                                                                      Printed name

                                                                      President
                                                                      Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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Attorney or Party Name, Address, Telephone & FAX Nos.,                           FOR COURT USE ONLY
State Bar No. & Email Address
Ira D. Kharasch (CA Bar No. 109084)
John W. Lucas (CA Bar No. 271038)
Victoria A. Newmark (CA Bar No. 183581)
Jason H. Rosell (CA Bar No. 269126)
PACHULSKI STANG ZIEHL & JONES LLP
10100 N. Santa Monica Blvd., 13th Floor
Los Angeles, California 90067
Telephone: (310) 277-6910
Facsimile: (310) 201-0760
E-mail:     ikharasch@pszjlaw.com
            jlucas@pszjlaw.com
            vnewmark@pszjlaw.com
           jrosell@pszjlaw.com




    [Proposed] Attorneys for: Hytera America Incorporated


                                                   UNITED STATES BANKRUPTCY COURT
                                                    CENTRAL DISTRICT OF CALIFORNIA

In re:
                                                                                 CASE NO.:
            Hytera America Incorporated
                                                                                 CHAPTER: 11




                                                                                                     VERIFICATION OF MASTER
                                                                                                    MAILING LIST OF CREDITORS

                                                                                                                   [LBR 1007-1(a)]

                                                              Debtor(s).

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of 196 sheet(s) is complete, correct, and consistent
with the Debtor's schedules and I/we assume all responsibility for errors and omissions.

Date: 05/25/2020
                                                                                         Signature of Debtor
                                                                                         Hi Huang, President




                  This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2015                                                                                      F 1007-1.MAILING.LIST.VERIFICATION
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                       Hytera America Incorporated
                       3315 Commerce Parkway
                       Miramar, FL 33025


                       John W. Lucas
                       Pachulski Stang Ziehl & Jones LLP
                       10100 Santa Monica Blvd.
                       13th Floor
                       Los Angeles, CA 90067-4003


                       Office of the U.S. Trustee -SA
                       411 West Fourth Street
                       Suite 7160
                       Santa Ana, CA 92701
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                   0117-Waste Pro
                   PO Box 865223
                   Orlando, FL 32886


                   1 Touch Office Technology
                   370 Amapola Avenue
                   Suite 106
                   Torrance, CA 90501


                   123Radios
                   11550 Stillwater Blvd N
                   Suite 123
                   Lake Elmo, MN 55042


                   1st Radio Battalion
                   Box 555355
                   Camp Pendleton, CA 92055


                   2 Way Communications
                   4401 Twain Ave
                   San Diego, CA 92120


                   2 Way Radio of Minnesota, Inc
                   604 E. First St
                   Janesville, MN 56048


                   2-Way Radio of Minnesota, Inc
                   PO Box 362
                   Janesville, MN, MN 56048


                   2018 CAPPO Conference
                   PO Box Y
                   Yuba City, CA 95992
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                   2Way Radios 4u
                   1898 Shore Drive South
                   Unit 117
                   Saint Peterburg, FL 33707


                   300 Spectrum Center Drive LLC
                   PO Box 840332
                   Los Angeles, CA 90084-0332


                   305 Broadcast
                   1865 Brickell Ave
                   Suite 1513
                   Miami, FL 33129


                   3E Tech Corp
                   2800 Glades Circle
                   Suite 109
                   Weston, FL 33327


                   49er Communications, Inc.
                   361 Rail Road Ave.
                   Nevada City, CA 95959


                   49er Communications, Inc.
                   PO Box 2538
                   Nevada City, CA 95959


                   4Imprint
                   Thomas Binner
                   25303 Network Place
                   Chicago, IL 60673


                   A A R Electronics, Inc.
                   P.O. Box 4336
                   Houma, LA 70360
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                   A Advantage Communications
                   24211 WCR 44
                   La Salle, CO 80645


                   A R Communications
                   91 Main St Eatontown
                   Eatontown, NJ 07724


                   A&K Electric
                   36W962 Treetop Lane
                   St. Charles, IL 60174


                   A-Beep, Inc.
                   452 N. Chicago Street
                   Joliet, IL 60432


                   A.R.F. Siscom Alberto Alfonso Rivera Fue
                   Toledo 1965, Casilla 22T
                   Santiago, Chili 00832-0000


                   A.W. Enterprises
                   6543 S Laramie Ave
                   Bedford Park, IL 60638


                   AA Advance Air, Inc.
                   1920 N.W. 32 Street
                   Pompano Beach, FL 33064


                   Aaron J. Titus
                   232 Ellsworth Cir
                   Saint Johns, FL 32259
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                   Aaron Lawson
                   17619 Boat Club Drive
                   Fort Meyer, FL 33908


                   Abba Equipment, Inc.
                   5553 Anglers Ave.
                   Suite 113
                   Fort Lauderdale, FL 33312


                   Abest Radio & Communications
                   32 Taaffe Place
                   Brooklyn, NY 11205


                   Abix Tecnologia
                   Augusto Stellfeld 1175
                   Curitiba, Brazil 08025-0220


                   Accell Distribution
                   14 Calz CAamarones Avenida
                   San Salvador Xochimanca
                   Ciudad de Mexico


                   Accellos, Inc.
                   90 S Cascade Ave
                   Suite 1200
                   Colorado Springs, CO 80903


                   Ace Parking Management
                   30 Pacifica
                   Suite 100
                   Irvine, CA 92618


                   ACG
                   1015 Lunt Ave
                   Schaumburg, IL 60193
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                   ACG Systems Inc.
                   133 Defense Highway
                   Suite 206
                   Annapolis, MD 21401


                   Action Communications, Inc
                   11630 Airport Road # B-300
                   Everett, WA 98204


                   Action Communications, Inc
                   12414 Hwy 99
                   Suite 14
                   Everett, WA 98204


                   Adam T. Fugate
                   1710 W. Crestview St
                   Springfield, MO 65807


                   Adcom Worldwide, Inc.
                   PO Box 844722
                   Dallas, TX 75284


                   Adecco Employment Services
                   Dept LA 21403 P
                   Pasadena, CA 91185


                   ADP Total Source
                   P. O. Box 55772
                   Boston, MA 02205


                   ADP, LLC
                   1851 N RESLER DR MS-600
                   El Paso, TX 79912
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                   ADS Technology
                   2050 Coral Way
                   Ste 2-322
                   Miami, FL 33145


                   Advanced Communications
                   PO BOX 142
                   Jasper, IN 47547


                   Advanced Radio Communications LLC
                   PO Box 142
                   Jasper, IN 47547


                   Advantage Communications Inc.
                   P.O. Box 964
                   Andover, KS 67002


                   Advantage Communications, Inc.
                   515 South Highlands Dr.
                   Hollywood, FL 33021


                   Advertising Edge Inc.
                   9840 Prospect Avenue
                   Santee, CA 92071


                   AEROTEK Commercial Staffing
                   3689 Collection Ctr Dr
                   Chicago, IL 60693


                   Aerowave Technologies, Inc
                   PO Box 294123
                   Lewisville, TX 75029
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                   AGORA - Solu es em Telecomunica es
                   Rua Cerro Cora 420
                   Sao Paulo, Brazil 00100-0000


                   AGS U.S. Inc.
                   3951 SW 47 Avenue
                   Suite 106
                   Fort Lauderdale, FL 33314


                   Air Communications
                   2430 Industrial Street
                   Wisconsin Rapids, WI 54495


                   Air Spectrum Rapid Wireless of Florida,
                   1461 Banks Road
                   Margate, FL 33063


                   Airwave Radio, Inc.
                   1138 Basse Road
                   San Antonio, TX 78212


                   Al Rosenberger
                   76 West Stein Road
                   Vergennes, IL 62994


                   Alarma 24 A24
                   Calle Jose R Lopez #1
                   Los Prados, Dominican Republic 51000-000


                   Alarmlock Corp
                   51 North 3000 West
                   Clearfield, UT 84015
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                   Alchimia
                   1840 Eldora Street
                   Lemon Grove, CA 91945


                   Alex (Yangxiang) Chen
                   444 Washington Blvd
                   Apt 1416
                   Jersey City, NJ 07310


                   Alfacom SAS
                   Calle 38 B Sur NR. 46A-09
                   Envigado, Columbia 55428-0000


                   Algoritmos Procesos Y Disenos SA
                   Calle Raimundo Fernandez Villaverde, Num
                   Madrid, Spain 28003-0000


                   Alison Ruth Cain
                   PO Box 3076
                   Frederick, MD 21705


                   All Radio Rental
                   5250 Pleasure Island Road
                   Orlando, FL 32809


                   All Wireless Communications
                   1112 Oakley Ave
                   Burley, ID 83318


                   All-Comm Technologies, Inc.
                   5 Whitmore Rd
                   Revere, MA 02151
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                   AllComm Wireless
                   4116 First Ave N
                   Birmingham, AL 35222


                   Allen Matkins
                   1900 Main St 5th FL
                   Irvine, CA 92614-7321


                   Allied Administrators
                   PO Box 26908
                   San Francisco, CA 94126


                   Allred Radio
                   549 Allred Road
                   Afton, WY 83110


                   Alpha Prime Wireless Communications
                   5646 W. Monee-Manhattan Rd
                   Monee, IL 60449


                   Altech Electronics, Inc.
                   2234 McDonald Avenue
                   Brooklyn, NY 11223


                   Amazon Capital Services
                   PO Box 035185
                   Seattle, CA 91824-5184


                   Amazon LLC
                   PO Box 035184
                   Seattle, WA 38124-5184
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                   Ambient Regional Services LLC
                   2687 N 2000 West
                   Suite B
                   Farr West, UT 84404


                   America-China Enterprise Chamber of Comm
                   1591 N Powerline Road
                   Pompano Beach, FL 33069


                   American Express
                   P.O. Box 650448
                   Dallas, TX 75265


                   American Technology Suppliers
                   931 Village Blvd
                   Suite: 905-213
                   West Palm Beach, FL 33409


                   American Tradeshow Services
                   217 General Patton Avenue
                   Mandeville, LA 70471


                   AmeriGas
                   PO Box 7155
                   Pasadena, CA 91109-7155


                   AMK Services, LLC
                   9291 Crouse Willison Rd
                   Johnstown, OH 43031


                   AMPRO Electrical Services
                   10219 Nw 81 St
                   Tamarac, FL 33321
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                   Anderson Communications
                   242 Highway 30
                   Oxford, MS 38655


                   Andrea Smith
                   7519 Camroden Rd
                   Rome, NY 13440


                   Andrew R Tuch
                   7536 Lyons Street
                   Morton Grove, IL 60053


                   Andrew Rosengarten
                   -


                   Andy Kerman
                   497 Weidner Rd
                   Buffalo Grove, IL 60089


                   Angel A Gonzalez
                   8904 NW 111 Terrace
                   Hialeah, FL 33018


                   Ankura Consulting Group LLC
                   -


                   Anthony Batrakov
                   217 Slater Blvd
                   Staten Island, NY 10305
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                   APCO International, Inc.
                   351 N. Williamson Blvd
                   Daytona Beach, FL 32114


                   API Weinschel Inc
                   P.O. Box 780029
                   Philadelphia, PA 19178


                   APL Logistics
                   6225 E Minooka Road
                   Minooka, IL 60447


                   Applied Communications
                   203 SW Cutoff
                   Northboro, MA 01532


                   Applied Technology Group, Inc
                   4440 Easton Drive
                   Bakersfield, CA 93309


                   APW Service
                   9418 S 670 W
                   Sandy, UT 84070


                   Arc Broward
                   10250 NW 53 Street
                   Fort Lauderdale, FL 33351


                   ARCain Investigations
                   P.O. Box 3076 Frederick
                   Frederick, MD 21705
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                   Arcom Communications
                   4780 West Ann Road
                   STE 50-210
                   North Las Vegas, NV 89031


                   Arcom Communications
                   7512 Dr. Phillips Blvd
                   Suite 50-210
                   Orlando, FL 32819


                   Area Wide Communications
                   260 Hwy 45 E. North
                   Medina, TN 38355


                   ARG Worldwide, LLC
                   215 W Ann Arbor Road
                   Suite 203
                   Plymouth, MI 48170


                   Aria Resort Casino
                   3730 S Las Vegas Blvd
                   Las Vegas, NV 89109


                   Aricel Lamas
                   -


                   ARINC Inc.
                   2551 Riva Road
                   Annapolis, MD 21401


                   Arizona Corporation Commission
                   1300 W Washington St
                   Phoenix, AZ 85007
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                   Arrowhead Radio & Security dba Hunt Elec
                   7900 Chicago Ave
                   South Bloomington, MN 55420


                   Ascesis Media Ltd
                   Poole BH14
                   Oly, UK


                   Ascesis Media Ltd.
                   36 Gevis Road
                   Suite 5 2nd FL
                   Pine Court, Bournemouth BH1 3DH


                   Asecones S.A
                   Av.Calle 24 # 40-51
                   Bogota, Columbia 00011-0311


                   Ashlee Tortorici
                   48 N Park Ave Unit 5
                   Lombard, IL 60148


                   Ashum Corp.
                   PO Box 1569
                   Lake Dallas, TX 75065-1569


                   Astron Corporation
                   9 Autry
                   Irvince, CA 92618


                   AT&T
                   PO Box 5014
                   Carol Stream, IL 60197-5014
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                   AT&T Mobility
                   P.O. Box 129
                   Newark, NJ 07101


                   Atlantic Communications, Inc
                   P.O. Box 596
                   Bandoe, ME 04402


                   Atlantic Communications, Inc.
                   4811 Market Drive
                   Newport News, VA 23607


                   Atlantic Radio Communications
                   2011 South Perimeter Road
                   Ft. Lauderdale, FL 33309


                   Audiax Communications
                   611 Hall Street NW
                   Warren, OH 44483


                   AV Engineered
                   5991 Nw 14 St.
                   Sunrise, FL 33313


                   Avant-Garde Productions
                   8 Mape Avenue
                   Conklin, NY 13748


                   Avas Flowers
                   -
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                   Aviation Communications
                   21 Breezy Way
                   Georgetown, Cayman Islands KY1, 1002


                   Avitech, LLC
                   1206 Punua Way
                   Kailua, HI 96734


                   Avlon Industries
                   1999 N 15the Avenue
                   Melrose Park, IL 60160


                   Ayer-Shirley Regional School
                   141 Washington Street
                   Ayer, MA 01432


                   B & E Enterprises
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                   Duchesne, UT 84021


                   B and B Radio
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                   Russellville, AR 72811


                   B R Communications
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                   Harrisonburg, VA 22801


                   B&H Photo
                   PO Box 28072
                   New York, NY 10087
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                   B.W.Recycling, Inc
                   301 W Ansin Blvd
                   Hallandale, FL 33009


                   Baker's Electronics & Communication
                   2627 SW Main Blvd.
                   Lake City, FL 32025


                   Ballston Spa Central Schools
                   70 Malta Avenue
                   Ballston Spa, NY 12020


                   Bally's Las Vegas
                   3645 Las Vegas Blvd
                   South Las Vegas, NV 89109


                   BAM Communications
                   35091 Palestine Road
                   Alvermale, NC 28001


                   Bardwell Electronics
                   PO Box 1091
                   Vineyard Haven, MA 02568


                   Bartronics Inc
                   112 S. 12th Street
                   Chesterton, IN 46304


                   Bay Electronics, Inc.
                   23 East Oak St. S
                   Sturgeon Bay, WI 54235
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                   Bed Bath & Beyond
                   27063 Meadow Ridge Dr
                   Elko, MN 55020


                   Bella Collina
                   16355 Vetta Drive
                   Montverde, FL 34756


                   Beltronics, Inc.
                   19 Proctor Hill Rd
                   Hollis, NH 03049


                   Benjamin A. Herbert
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                   Benton Ezzell
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                   Lewisville, TX 75067


                   BES Industries
                   11512 Lake Mead Ave
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                   Jacksonville, FL 32256


                   Best Beverage
                   Cmac 3355 Marvin Sands Drive
                   Canandaigua, NY 14424


                   Best Way Communications LLC
                   20714 76th Ave W No.13
                   Edmonds, WA 98026
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                   Better Communications Co, Inc.
                   PO Box 850
                   Heber, AZ 85928-0850


                   Bexar County For The Performing Arts DBA
                   115 Auditorium Circle
                   San Antonio, TX 78205


                   Big Dog Wireless
                   2618 Richlands Hwy
                   Jacksonville, NC 28540


                   Bill Mason



                   Billing Solutions, Inc.
                   PO Box 1136 Glenview
                   Glenview, IL 60025


                   BingShu Ma
                   -


                   Bird Electronics Corp.
                   P.O. Box 74148-S
                   Cleveland, OH 44194-0231


                   Biser's Radio Service
                   P.O. Box 2 Lorent
                   Lorentz, WV 26229
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                   BK Technologies, Inc
                   7100 Technology Drive
                   Melbourne, FL 32904


                   Blackbeard Marine
                   145 Valois Blvd
                   Key Largo, FL 33037


                   Blue Shield of California
                   PO Box 629014
                   El Dorado, CA 95762-9014


                   Board of Equalization
                   PO Box 942879
                   Sacramento, CA 83797-2680


                   BOE



                   Bolin Communications Inc ProCom
                   1703 E 50 Street
                   Texarkana, AR 71854


                   Bombardier Transportation
                   700 Beideman Ave
                   Camden, NJ 08105


                   Borderland Communications
                   6417 Alameda Ave
                   Space C
                   El Paso, TX 79905
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                   Bosch Security System, Inc.
                   8601 East Cornhusker Hwy
                   Lincoln, NE 68507


                   Bradford Greene
                   221 Palm Circle
                   Atlantic, FL 33462


                   Bradford J Filsinger
                   2334 S Cypress Bend Drive
                   Apt 701
                   Pompano Beach, FL 33069


                   Brandon C. Buie
                   813 North Governor
                   Williams Highway, SC 29532


                   Brandon Hemstead
                   1428 Argonne Drive
                   Green Bay, WI 54304


                   Brandon Hickey



                   Brandon Hugh Brown
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                   Suite 2700
                   San Francisco, CA 94104


                   Brandon Moss
                   2514 Migues Rd
                   New Iberia, LA 70560
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                   Brandon Schatz
                   7280 Hwy 49
                   New Leipzig, ND 58562


                   Break Through Communications
                   3620 Byers Avenue
                   Fort Worth, TX 76107


                   Brenntag Southwest Catoosa
                   5702 E Channel Rd
                   Catossa, OK 74105


                   Bridgman Public Schools
                   9964 Gast Road
                   Bridgman, MI 49106


                   Brittany Nelson
                   311 Sierra Drive
                   Royse City, TX 75189


                   Broadcast Depot Corporation
                   7782 N.W. 46 ST.
                   Miami, FL 33166


                   Bronx Communications
                   2702 Pile Strade No.2
                   St Thomas, VI 00802


                   Broward County Tax Collector
                   1800 Nw 66th Ave
                   Suite 100
                   Plantation, FL 33313
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                   Broward County Tax Collector
                   115 S. Andrews Ave.
                   Rm A-100
                   Fort Launderdale, FL 33301


                   Brown & Brown
                   1201 West Cypress Creek Road
                   Suite 130
                   Fort Launderdale, FL 33309


                   Browns Communications Co
                   3160 State Highway 323 WEST
                   Henderson, TX 75652


                   Browns Communications Co
                   5190 US Hwy 259
                   Henderson, TX 75652


                   Bruce Lepak
                   7364 Good Luck Ln
                   West Bend, WI 53090


                   Brunal Air Cargo
                   Paramount House
                   Suite 117, Delta Way
                   Egham, Surrey
                   TW20 8RX, UK


                   Bryan Geoffroy
                   2318 Terre Ruelle
                   New Iberia, LA 70563


                   Bryan Rassbach
                   S8437 Wren Dr.
                   Eau Claire, WI 54701
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                   Bryant Electric
                   8817 NW 21 Terrace
                   Miami, FL 33172


                   Bryant Radio Supply, Inc
                   3449 Virgina Ave
                   Collinsville, VA 24078


                   Burlington Comm Service Ctr
                   4735 Williston Rd
                   Ste 30
                   Williston, VT 05495


                   Business Radio Licensing
                   30251 Golden Lantern
                   Suite E
                   Laguna Niguel, CA 92677


                   Business Radio Sales & Service, Inc.
                   1418 5th Street
                   Coralville, IA 52241


                   Business Radio, Inc
                   205 N. Volland St.
                   Kennewick, WA 99336


                   Business Radio, Inc
                   Po Box 7266
                   Kennewick, WA 99336


                   By Dzign, LLC
                   5625 Arvilee Street
                   Suite E
                   Las Vegas, NV 89118
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                   C & K Communications
                   216 Lena Street
                   Nokomis, IL 62075


                   C C Control
                   5563 Sepulveda Blvd.
                   Suite# D
                   Culver City, CA 90230


                   Cables For Less
                   9093 S State Road 39
                   Mooresville, IN 46158


                   Caesars Entertainment
                   Attn: CPHQ-Energy
                   One Caesars Palace Drive
                   Las Vegas, NV 89109


                   Calfee Halter & Griswold LLP
                   Attn. Joshua M Ryland
                   The Calfee Building
                   1405 East Sixth Street
                   Cleveland, OH 44114


                   Calfee Halter & Griswold LLP
                   Attn. Mark Wallace McDougall
                   The Calfee Building
                   1405 East Sixth Street
                   Cleveland, OH 44114


                   Calfee Halter & Griswold LLP
                   Attn. Todd R. Tucker
                   The Calfee Building
                   1405 East Sixth Street
                   Cleveland, OH 44114


                   Calfee, Halter & Griswold LLP
                   1405 East Sixth Street
                   Cleveland, OH 44114
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                   California Choice
                   PO Box 7088
                   Orange, CA 92863-7088


                   California Peace Officers' Association
                   555 Capitol Mall
                   Suite 1495
                   Sacramento, CA 95814


                   California Southwestern Insurance Agency
                   21 Orchard
                   Lake Forest, CA 92630


                   Caltec S.A.C.
                   Ave Del Pinar 152
                   Santiago De Surco
                   Lima, Peru 15038-0000


                   Cameron Strickland
                   2569 Honey Clover Ct
                   Suamico, WI 54313


                   Candice Staggs
                   384 Poplar Lane
                   Warrior, Al 35180


                   Candra Archbold
                   208 Brown Street
                   Greer, SC 29650 US, SC 29650


                   Canquest Communications
                   141 Grand Ave. East
                   Chatham, Canada N7L 1W1
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                   Canteen
                   Po Box 50196
                   Los Angeles,, CA 90074


                   Canyon State Wireless
                   8 Corral Road
                   Sierra Vista, AZ 85635


                   Capitol Region Education Council
                   111 Charter Oak Avenue
                   Hartford, CT 06106


                   Car Comm Inc
                   10111 Ironwood Road
                   Suite B
                   Palm Beach Gardens, FL 33410


                   Carlos E. Cordova
                   8631 Waterside Court
                   Parkland, FL 33076


                   Carlos Orlando Barban Dieguez
                   19116 W Lake Dr
                   Hialeah, FL 33015


                   Carnero Vitolas, Inc.
                   11415 Cedar Oak Drive
                   El Paso, TX 79936


                   Carolina Communications Inc
                   207 East Industrial Park Blvd
                   Florence, SC 29505
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                   Carolyn Pedersen
                   15751 Sheridan Street
                   # 110
                   Ft. Lauderdale, FL 33331


                   Cartel Communications, Inc.
                   9415 - 202 Street
                   Langley, BC V1M 4B5


                   CASBO
                   980 E Tahquitz Canyon Way
                   Suite 103
                   Palm Springs, CA 92262


                   Case Technology, Inc.
                   26 Hayward St
                   Ipswich, MA 01938


                   CASEC
                   7440 Nw 52 St
                   Miami, FL 33166


                   Cato Communications
                   1306 Madeline St.
                   Commerce, TX 75428


                   Cazcom, Inc.
                   17181 Jasmine Street
                   Victorville, CA 92395


                   CDW Direct
                   200 North Milwaukee Avenue
                   Vernon Hills, IL 60061
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                   Cecomunica
                   GalleryMezzanine,OficinaM7,Via Ital
                   PO Box 0831-05555
                   Punta Paitilla
                   San Francisco, Republic of Panama


                   Celina City Schools
                   585 East Livingston Street
                   Celina, OH 45822


                   CEN-COM
                   9 Independance Drive
                   Londonderry, NH 03053


                   Central FL Electric Cooperative Inc
                   11491 NW 50th Avenue
                   Chiefland, FL 32626


                   Central FL Telefibe Comm
                   885 Lake Myrtle Road
                   Auburndale, FL 33823


                   Central Mississippi Communications
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                   Kosciusko, MS 39090


                   Chad Stojkovich
                   1187 Halfmoon Gate
                   Lake in the Hills, IL 60156


                   Charles Fine
                   PO Box 958
                   Alcoa, TN 37701
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                   Charles Weddle
                   401 Francine Ct.
                   Orlando, FL 32824


                   Chemtel Inc.
                   1350 N. Florida Ave
                   Tampa, FL 33602


                   Cherry Hill Hotel Management
                   2349 West Marlton Pike
                   Cherry Hill, NJ 08002


                   Chestnut Ridge Radio Comm Inc
                   636 Market Street
                   Johnsonburg, PA 15845


                   Chicago Processed Fruit Group
                   6280 W Howard St
                   Niles, IL 60714


                   Chickasaw Personal Comm., Inc.
                   P.O. Box 2556
                   Ardmore, OK 73402


                   China General Chamber of Comm-USA
                   19 E 48th Street, 3rd Floor
                   New York, NY 10017


                   Chiu and Lu Tax Office Inc
                   1641 W Main Street, Suite 306
                   Alhambra, CA 91801
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                   Christina Hutchinson
                   11011 Pleasant Colony Dr
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                   Houston, TX 77065


                   Christopher Cochran
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                   New Holland, IL 62671


                   Christopher M. Souza
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                   Irvine, CA 92618


                   Christopher Wimsatt
                   12221 122nd St. E
                   Puyallup, WA 98374


                   Chrouch Communications
                   147530 30th Avenue
                   Remus, MI 49340


                   Chubb
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                   Pittsburgh, PA 15250-8001


                   Cintas First Aid & Safety
                   P.O. Box 631025
                   Cincinnati, OH 45263


                   Ciscor Acquisitions, LLC
                   126 West Main Street
                   Norman, OK 73069
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                   Citation Communication
                   1855 Indian Road
                   Suite 207
                   West Palm Beach, FL 33409


                   City National Bank
                   555 South Flower Street
                   16th Floor
                   Los Angeles, CA 90071


                   City of Irvine
                   PO Box 19575
                   Irvine, CA 92623-9575


                   City Of Miramar Fire Rescue
                   2300 Civic Center Place
                   Hollywood, FL 33025


                   City Of Miramar Fire Rescue
                   14801 SW 27 St
                   Miramar, FL 33027


                   Clarence Coney
                   1005 Damascus Circle
                   Costa Mesa, CA 92626


                   Clarity Ventures, Inc.
                   9442 North Capital Of Texas Hwy
                   Suite 925
                   Building I
                   Austin, TX 78759


                   CLD-Clever Little Design Limited
                   48 Bell Street
                   Maidenhead, Berkshire SL6 1HX GB
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                   ClearComm
                   105 W 35th Street STE G
                   National City, CA 91950


                   Clickback
                   110 James St.
                   St. Cahtarines, ON L2R7E8


                   Clifford Schatz
                   7535 61st St. SW
                   New Leipzig, ND 58562


                   Clovis, Inc.
                   PO Box 519
                   Batavia, IL 60510


                   Club-Hotel Nashville Inn & Suites
                   2435 Atrium Way
                   Nashville, TN 37214


                   CMI Communications
                   5520 W 190TH St. APT 230
                   Torrance, CA 90503


                   CNC Technical Service
                   3596 Moline Street
                   Unit 106
                   Aurora, CO 80010


                   Code 3 Service
                   2323 Aztec Rd NE, Ste A
                   Albuqerque, NM 87107
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                   Cogency Global Inc.
                   10 East 40th Street
                   10th Floor
                   New York, NY 10016


                   Cole Robert Renaud
                   -


                   Collette Travel Service Inc
                   162 Middle Street
                   Pawtucket, RI 02860


                   Collier 2Way, Inc.
                   3900 Mannix Drive
                   Suite #107
                   Naples, FL 34114


                   Collins Communications Co.
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                   Suite 1
                   Fort Collins, CO 85024


                   Colorado Department of Revenue
                   PO Box 17087
                   Denver, CO 80236-0006


                   Comcast
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                   Charlotte, NC 28272


                   Comcast
                   1585 Waukegan Road
                   Waukegan, IL 60085-6727
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                   ComEd
                   PO Box 6111
                   Carol Stream, IL 60197-6111


                   Comm Car Services
                   11235 Lakeview Dr.
                   Pompano Beach, FL 33071


                   Comm-lease, Inc dba CL Technologies
                   2783 Starwood Dr.
                   Hampstead, MD 21074


                   Command 1, LLC
                   53636 Countryside Road
                   California,, MO 65018


                   Commercial Communications
                   6314 E Gravel Avenue
                   Alexandria, VA 22310


                   Commercial Gulf Communications, LLC
                   2430 Vanderbilt Beach Rd
                   Suite 108
                   Naples, FL 34109


                   Commline, Inc.
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                   Culver City, CA 90230


                   CommScope Technologies LLC
                   PO Box 9687
                   Chicago, IL 60693
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                   Vero Beach, FL 32967


                   Communicacion Electronica
                   Sistematizada S
                   Calzade De Azcapotzalco
                   La Villa 988 CO


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                   8487 NW 54 St.
                   Miami, FL 33166


                   Communication Professionals
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                   Dalla, TX 75355


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                   Wake Village, TX 75501


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                   Texarkana, AR 71854


                   Communications & Emergency Products
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                   Bldg E
                   Stafford, TX 77477
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                   3343 South Scenic
                   Springfield, MO 65807


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                   Lorton, VA 22079


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                   Nashville, TN 37214


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                   Norwich, CT 06360


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                   Phoenix, AZ 85017
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                   Communications Unlimited
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                   Chicago, IL 60607


                   Company ScanSource Latin America INC
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                   Complete Wireless Tech
                   621 C Innovation Circle
                   Windsor, CO 80550


                   Comptroller of Public Accounts
                   P.O. Box 149348
                   Austin, TX 78714


                   Computer Business Solutions, Inc.
                   PO Box 6398
                   Ashland, VA 23005


                   Comserv Services, LLC
                   1246 Sycamore View Road
                   Memphis, TN 38134


                   Comtech 2Way Communications
                   P.O. Box 654
                   Eastport, NY 11941
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                   Comtrol Corp DBA Comtrol International
                   500 Pennsylvania Ave
                   Irwin, PA 15642


                   Comunicacion Electronica Sistematizada S
                   Adolfo Prieto 1351
                   Col Del Valle, Mexico 03100-0000


                   Concept Wireless Communications
                   1232 Capitol Drive
                   Unit A
                   Addison, IL 60101


                   Confirmation.com
                   -


                   Connecticut Radio Inc.
                   1208 Cromwell Ave.
                   Rocky Hill, CT 06067


                   Conrad Clarke



                   Consorcio Hytera A24
                   Jose Amado Soler No 14, Serralles
                   Santo Domingo, Domincan Republic 10127-0


                   Constant Contact
                   1601 Trapelo Road
                   Suite 329
                   Waltham, MA 02451
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                   Continental Wireless
                   10455 Vista Park Road
                   Dallas, TX 75238


                   Continental Wireless
                   PO Box 832916
                   Richardson, TX 75083


                   Convergence Communications, LLC
                   PO Box 2782
                   Hazleton, PA 18201


                   Cook's Communications
                   160 N Broadway St.
                   Fresno, CA 93701


                   Cook's Communications
                   -
                   Houston, TX 77094


                   Cornelia Van Herel
                   1430 Pambrooke Lane
                   Houston, TX 77094


                   Corporacion Radio Electronica S.A.
                   3A. Ave 8-66 Zona 14
                   Guatemala City, Guatemala


                   Country Malt Group
                   145 Cane Creek Industrial Park Road
                   # 175
                   Fletcher, NC 28732
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                   County of Orange
                   Attn: Treasurer-Tax Collector
                   PO Box 1438
                   Santa Ana, CA 92702


                   Coverall North America
                   PO Box 802825
                   Chicago, IL 60680-2825


                   COX
                   PO BOX 53280
                   Phoenix, AZ 85072-3280


                   CP Communications
                   200 Clearbrook Road
                   Elmsford, NY 10523


                   Crane Warning Systems Atlanta
                   1735 Porterton Way
                   Cumming, GA 30041


                   Crelosa - Honduras
                   Col. Tepeyac 2 Cuadras Al Este Mc Donald
                   Tegucigalpa, Honduras 11101-0000


                   Crelosa Operador PDT
                   3A. Ave 8-66 Zona 14
                   Guatemala City, Guatemala


                   Cricket Ventures
                   528 S. Cherry Road
                   Rock Hill, SC 29732
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                   Crowe LLP
                   P.O. Box 71570
                   Chicago, IL 60694


                   Crowne Plaza
                   1325 Virginia Ave
                   Atlanta, GA 30344


                   Crystal Plus, Inc.
                   489 Yorbita Rd., Ste A
                   La Puente, CA 91744


                   Crystal SMR, Inc.
                   1601 Neptune Drive
                   San Leandro, CA 94577


                   Crystal Springs
                   PO Box 660579
                   Dallas, TX 75266


                   CSCOMS
                   PO Box 598
                   Beach Haven, NJ 08008


                   CSS Mindshare, LLC.
                   6030 South 58th St.
                   Lincoln, NE 68516


                   Custom Global Logistics
                   PO Box 3330
                   Northlake, IL 60164
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                   CX Packaging
                   14408 Iseli Road
                   Santa Fe Springs, CA 90670


                   Cynergy Wireless
                   1463 Combermere Dr.
                   Troy, MI 48083


                   Cynergy Wireless
                   2300 Bellingham Dr
                   Troy, MI 48083


                   Cynthia A. Fischer
                   2220 Manhattan Ave
                   Manhattan beach, CA 90226


                   D.H.L. EXPRESS (USA), INC
                   P.O. Box 4723
                   Houston, TX 77210


                   Dai & Associates, P.C.
                   Times Square Plaza
                   1500 Broadway,Suite 2200
                   New York, NY 10036


                   Dai & Associates, P.C.
                   1500 Broadway
                   Suite 2200
                   New York, NY 10036


                   Dalton Communications
                   PO Box 6055
                   Dalton, GA 30722
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                   Dan Smith
                   14 N. Winchester Street
                   Benton, MO 06736


                   Daniel Edward Smith Jr.
                   124 Foust Dr.
                   Sikeston, MO 63801


                   Daniel Reinhart
                   PO Box 2126
                   Mesa, AZ 85277


                   Daniel T. McKee
                   1240 Park Ashwood Drive
                   Apt C
                   St Charles, MO 63304


                   Daniel T. McKee
                   1230 Park Ashwood Drive
                   APT C
                   Saint Charles, MO 63304


                   Daniel Trillaud
                   -


                   Daphne Wu



                   Darden Communications dba DCCI
                   272 Mountain Ridge Rd
                   Millbrook, AL 36054
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                   Darien Board of Education
                   35 Leroy Avenue
                   Darien, CT 06820


                   Data Control Network, Inc.
                   3274 West 96th Place
                   Hialeah, FL 33018


                   Data Lab S.A.
                   Avda. Artigas #1645
                   Asuncion, Paraguay 01415-0000


                   Dateck Corp
                   3803 Eleven Mile Road Bldg
                   #A
                   Fort Pierce, FL 34945


                   Dav El
                   69 Norman Street
                   Everett, MA 02149


                   David Behselich
                   11403 N. Wauwatosa Rd.
                   Mequon, WI 53097


                   David Beland
                   -


                   David Brewer
                   109 S Greenview Ave
                   Mundelein, IL 60060
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                   David Holt
                   101 W Maple St.
                   Washington, IN 47501


                   Davis Communications
                   1638 6000 Road
                   Bartlett, KS 67732


                   Davis Electronics
                   617 Hwy 52 By Bass East
                   Lafayette, TN 37083


                   Daylight Transport, LLC
                   PO Box 93155
                   Long Beach, CA 90809


                   Dealers Industry Viability Group
                   c/o Jennifer-Griffith Black
                   JGBLaw PC
                   4104 Bellaire Blvd
                   Houston, TX 77025


                   Dean Carlson
                   920 E Shady Way
                   Arlington Heights, IL 60005


                   Dean's Commercial Two-Way
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                   Cataula, GA 31804


                   Debra Brooks
                   3138 S MacGregor Way
                   Houston, TX 77021
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                   Decatur Electronic Comm
                   1222 4th Ave Se
                   Decatur, AL 35601


                   DecisionQuest, Inc
                   21515 Hawthorne Blvd.
                   Suite 720
                   Torrance, CA 90503-6604


                   Deckard Enterprises
                   189 Enders Road East
                   Quitman, AR 72131


                   Del Mar Foods
                   1720 West Beach Street
                   Watsonville, CA 95076


                   Dell Business Credit
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                   Carol Stream, IL 60197


                   Delmarva Two-Way Radio, Inc
                   12636 Sunset Avenue
                   Unit H-1
                   Ocean City, MD 21842


                   Deluxe Business Forms
                   P.O. Box 742572
                   Cincinnati, OH 45274


                   Denese V Inniss LLC
                   39 Ruffian Drive
                   Stafford, CA 22556
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                   Denis Chernik
                   6584 Austin Street, 4t
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                   Department of Airforce
                   224 Apache Trail
                   Goodfellow AFB, TX 76908


                   Department of Navy
                   2555 Amphibious Drive
                   Virginia Beach, VA 23459


                   Department of the Air Force
                   2744 Malvesti Street
                   Fort Bragg, NC 28310


                   Dept of Highway Safety & Motor V
                   1800 NW 66 Ave
                   Suite 101
                   Fort Lauderdale, FL 33313


                   Deputy Electronics
                   11172 E US Highway 50
                   Seymour, IN 47274


                   Destin Thomas Communications, Inc.
                   P.O. Box 23276
                   Ventura, CA 93001


                   DHL Express
                   PO Box 4723
                   Houston, TX 77210-4723
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                   DHL Express USA, Inc.
                   16592 Collections Center Drive
                   Chicago, IL 60693


                   Dial Communications
                   760 W Ventura Blvd
                   Camarillo, CA 93010


                   Diamond Exhibition (Hong Kong)
                   83 Des Voeux Road
                   Central Hong Kong, China


                   Dianique Management
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                   Schaumburg, IL 60193


                   Diego Navas
                   3315 Commerce Parkway
                   Miramar, FL 33025


                   Diego Navas
                   3950 N 56th Avenue
                   #213
                   Hollywood, FL 33021


                   Dietz Farms
                   7825 82nd St SW
                   New Leipzig, ND 58562


                   Digi-Key Corporation
                   701 Brooks Ave. South
                   Thief River Falls, MN 56701
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                   Digi-Key Electronics 3012424
                   PO Box 250
                   Thief River Falls, MN 56701-0250


                   DigiComm Systems
                   3501 Durazno Ave. Unit #C
                   El Paso, TX 79905


                   Digicorp LTDA
                   Calle Joaquin De Velasco # 444 Esquina P
                   La Sierra, Bolivia


                   Digital Sky Wireless, LLC
                   16400 104 Ave
                   Orland Park, IL 60467


                   Direct Messenger Service
                   P.O. Box 190242
                   Ft. Lauderdale, FL 33319


                   Directdata.com
                   VEC Supply
                   Po Box 1189
                   Charottesville, VA 22902


                   Discount Communications
                   4199 Coal River Rd.
                   Alum Creek, WV 25003


                   Discount Two-Way Radio
                   555 W Victoria St
                   Rancho Dominguez, CA 90220
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                   Diversified Communications Group of Ohio
                   4435 Aicholtz Road, Suite 900
                   Suite 900
                   Cincinnati, OH 45245-2038


                   Diversified Communications Group of Ohio
                   8549 Montgomery Road
                   Suite B
                   Cincinnati, OH 45236


                   DLS Worldwide
                   PO Box 932721 RR Donnelley
                   Cleveland, OH 44193


                   DME Delivers LLC
                   PO Box 10979
                   Daytona Beach, FL 32120


                   DMR Networks, Inc. dba Callcomm
                   P.O. Box 745135
                   Arvada, CO 80006


                   DocuSign Inc.
                   221 Main St
                   Suite 1550
                   San Francisco, CA 94105


                   Donna M. Vasu
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                   PO Box 236
                   Avon, OH 44011


                   Donna Vasu
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                   Avon, OH 44011
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                   Double Tree by Hilton Raleigh Durham Air
                   4810 Page Creek Lane Durham
                   Durham, NC 27703


                   Duane Carr
                   1922 Tonieville Road
                   Hodgenville, KY 42748


                   Duane Morris Govnmt Strategies LLC
                   600 Grant Street Suite 5010
                   Pittsburg, PA 15219


                   Duane Morris LLP
                   30 South 17th Street
                   Philadelphia, PA 19103-4196


                   Dueane Morris LLP
                   190 S. LaSalle Street
                   Chicago, IL 60603


                   Duff & Phelps Holdings Corporation
                   55 E. 52nd Street
                   31st Floor
                   New York, NY 10055


                   Dunne Communications, Inc.
                   204 East Commercial
                   Anaconda, MT 59711


                   Durham Communications
                   725 W. Commerce Ave, Ste. 106
                   Gilbert, AZ 85233
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                   Durham Communications
                   4611 E. Virginia Street
                   Mesa, AZ 85215


                   Eagle Communications LLC - NV
                   180 River Street
                   Elko, NV 89801


                   Eagle Communications/DBA Radio Network
                   2 McLaren
                   Suite D
                   Irvine, CA 92618


                   Eagle Communications/DBA Radio Network,
                   34 Waterworks Way
                   Irvine, CA 92618


                   Ean Services, LLC
                   PO Box 402383
                   Atlanta, GA 30384


                   East Allen County Schools
                   124 State Road 930 E
                   New Haven, IN 46774


                   East Mountain Communications Inc
                   103 North Clinton St.
                   Poughkeepsie, NY 12601


                   Eastern Communications
                   48-14 36th Street
                   Long Island City, NY 11101
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                   EBAY
                   -


                   Echo Global Logistics Inc.
                   22168 Network Place
                   Chicago, IL 60673-1221


                   Ecuatronix CIA. LTDA. (Ecuador)
                   Azcunaga No. 274 Y Av.
                   Brasil Quito, Ecuador


                   Ed Mendez
                   -


                   Eddie Aguirre
                   1721 SW 64th
                   Miami, FL 33155


                   Edge Technology Distributors, Inc
                   2910 Kerry Forest Parkway
                   Tallahasee, FL 32309


                   Edgetech Inc.
                   336 State PL
                   Escondido, CA 92029


                   EdgeTech Inc.
                   1127 E Pennsylvania Ave
                   Escondido, CA 92025
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                   EdgeTech Wireless
                   696 Saddleback Way
                   San Marcos, CA 92078


                   Edlavitch DCJCC
                   1529 16th St NW
                   Washington DC, WA 20036


                   Eduardo Mendez
                   Fort Lauderdale, FL 33328



                   Edward Bonefas
                   1900 Flower St.
                   Mchenry, IL 60050


                   Edward Furey
                   W347 S9140 Jordan Trail
                   Eagle, WI 53119


                   Edward M. Aguirre
                   1721 Sw 64th
                   Miami, FL 33155


                   Edwin Garcia



                   eFax.com
                   -
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                   EFW Inc
                   4700 Marine Creek Pkwy
                   Forth Worth, TX 76179


                   EH Publishing Inc.
                   PO Box 989
                   Framingham, MA 01701-2000


                   EH Publishing, Inc. d.b.a. EH Media
                   111 Speen Street, Ste 200
                   Framingham, MA 01701


                   Eklectic Entertainment
                   2743 Scarborough Drive
                   Kissimmee, FL 34744


                   Electric Supply Inc.
                   PO Box 151657
                   Tampa, FL 33684


                   Electrocomm
                   2648 Lapeer Road
                   Auburn Hills, MI 48326


                   Electrocomm
                   28 N. Saginaw Street
                   Pontiac, MI 48342


                   Electroinica Kiaras
                   Jr.Paruro 1359, Int.166
                   Lima, Peru
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                   Electronic Communications of WV, Inc.
                   408 Old Goff Mt. Road
                   Cross Lanes, VW 25313


                   Electronic Design & Development
                   5072 28TH Place S.W.
                   Naples, FL 34116


                   Electronic Search, Inc.
                   5105 Tollview Dr
                   Suite 245
                   Rolling Meadows, IL 60008


                   Electronic Services Inc.
                   PO Box 474 8800 State Route 34
                   Winfield, WV 25213


                   Electropower Utility Sales Co.
                   7765 S.W. 87th Ave
                   Miami, FL 33173


                   Embassy Suites by Hilton Charlotte Uptow
                   401 East Martin Luther King Jr. Blvd
                   Charlotte, NC 28202


                   Employment Development Department
                   Bankruptcy Group MIC 92E
                   PO Box 826880
                   Sacramento, CA 94280


                   Energy Telecommunications
                   and Electrical
                   3341 Regent Blvd
                   Suite 130-325
                   Irving, TX 75063
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                   Enlight Communication
                   2541 S. University Drive
                   Davie, FL 33324


                   Entelec
                   3341 Regent Blvd
                   Irving, TX 75063


                   Entergy Services, LLC
                   27780 Blue Star Memorial Hwy
                   Covert, MI 49043


                   Enterprise Tolls
                   P.O. Box 30
                   Roslyn Heights, NY 11577


                   Enterprise Wireless Alliance, Inc
                   2121 Cooperative Way
                   Suite 225
                   Herndon, VA 20171


                   ER2 Image Group
                   110 Ridge Ave
                   Bloomingdale, IL 60108


                   Eric Michael Franks
                   948 Old Highway 68
                   Sweetwater, TN 37874


                   ERS-OCI Wireless LLC
                   PO Box 110
                   Ligonier, IN 46767
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                   ERS-OCI Wireless LLC
                   2331 Fortune Dr
                   Suite #210
                   Lexington, KY 40509


                   ESHIPUSA
                   2240 Palm Beach Lakes Blvd
                   Suite 303
                   West Palm Beach, FL 33409


                   ESP Wireless Tech-Axiom
                   3330 Pollux Ave
                   Las Vegas, NV 89102


                   Euler Hermes ACI
                   Financial Dept 800 Red Brook Blvd.
                   Owings Mills, MD 21117


                   Everett Public Schools
                   2222 Everett Ave
                   Everett, WA 98201


                   EWA Enterprise Wireless Alliance
                   2121 Cooperative Way
                   Suite #225
                   Herndon, VA 20171


                   Exhibivent LLC
                   1121 Palmer Court
                   Crystal Lake, IL 60014


                   Exhibivent LLC
                   7322 Gleneagle Circles
                   Village of Lakewood, IL 60014
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                   Expeditors Cargo Insurance Brokers
                   1015 3rd Ave
                   Seattle, WA 98104


                   Expeditors Intl-LA
                   12200 S. Wilkie Avenue
                   Suite 100
                   Hawthorne, CA 90250


                   EXPO Logic
                   553 Foundry Rd, East
                   Norristown, PA 19403


                   Express Radio, Inc.
                   10850 Wiles Road
                   Coral Springs, FL 33076


                   Falcon Direct, Inc
                   36-20th Avenue NW
                   Birmingham, AL 35215


                   Falls of Pembroke
                   13651 NW 4th Street
                   Hollywood, FL 33028


                   Falmouth School Department
                   51 Woodville Rd
                   Falmouth, ME 04105


                   Fast Radios
                   941 High Point Drive
                   Naples, FL 34103
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                   Fastsigns
                   4070 N. Belt Line Rd, 118
                   Irving, TX 75038


                   Fatima Garcete
                   1750 FM423
                   Apt 456
                   Frisco, TX 75033


                   Fatima Garcete
                   906 Allen Street
                   Apt 1314
                   Dallas, TX 75204


                   Fatima Justina Leonor Garcete



                   Fayette Electronics & Communications
                   12251 175th Street
                   Fayette, IA 52142


                   FCCI Insurance Group
                   PO Box 405563
                   Atlanta, GA 30384


                   FedEx
                   PO Box 1140
                   Dept. A
                   Memphis, TN 38101-1140


                   FedEx
                   P O Box 660481
                   Dallas, TX 75266-0481
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                   Fedex Ground Cargo Claims
                   100 Omega Drive
                   Pittsburgh, PA 15205


                   Fedex National Ltl
                   PO Box 95001
                   Lakeland, FL 33804-5001


                   Ferrocariles De Antogasta
                   Bolivar No. 255 PO Box S-T
                   Antofagasta, Chile


                   Final Touch Interiors, Inc.
                   1835 E Hallandale Beach Blvd
                   Unit #139
                   Hallandale, FL 33009


                   Fine Communications
                   PO Box 958 Alcoa,
                   Alcoa, TN 37701


                   Finnegan Henderson Farabow
                   Garret & Dunner LLP
                   Attn. Christopher T Blackford
                   901 New York Avenue, NW
                   Washington, DC 20001


                   Fiplex Communications, Inc.
                   7331 N.W. 54 Street
                   Miami, FL 33166


                   Fiplex Communications, Inc.
                   Drawer 2346, PO BOX 5935
                   Troy, MI 48007-5935
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                   Fire Ranger
                   4009 NE 6 Ave
                   Fort Lauderdale, FL 33334


                   First Responder Communication
                   8262 W. Portland Ave
                   Littleton, CO 80128


                   Fisher Wireless Services, Inc.
                   14530 S Commercial Street
                   Blythe, CA 92225


                   Flanigan Communications LLC
                   109 E Woodsfield Street
                   Norton, KS 67654


                   Flashbay Inc.
                   569 Clyde Avenue
                   Suite 500
                   Mountainview, CA 94043


                   Fleet Connect Inc.
                   PO Box 4031
                   Sanford, NC 27331


                   Fleetistics
                   2604 Cypress Ridge Blvd,
                   Suite 101
                   Wesly Chapel, FL 33544


                   Flint Hills Communications, LLC
                   1125 Westpost Drive
                   Manhattan, KS 66502
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                   Flood Brothers
                   PO Box 4560
                   Carol Stream, IL 60197-4560


                   Florida Department of Revenue
                   5050 W Tennessee Street
                   Tallahassee, FL 32399


                   Florida Department of State
                   500 South Bronough Street
                   Tallahassee, FL 32399-0250


                   Florida Department of Transportation
                   PO Box 880029
                   Boca Raton, FL 33488


                   Florida Dept of Revenue
                   Office of General Counsel
                   P.O. Box 6668
                   Tallahassee, FL 32314


                   Florida Dept of Revenue/State
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                   Tallahassee, FL 32399


                   Florida Division of Corporations
                   The Centre of Tallahassee
                   2415 N Monroe Street
                   Suite 810
                   Tallahassee, FL 32303


                   Flower City Communications
                   1848 Lyell Ave.
                   Rochester, NY 14606
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                   Force Transport
                   PO Box 450356
                   Fort Laundersale, FL 33345


                   Forte Comunicaciones SA DE CV
                   Ave.Lazaro Cardenas 2932 Int B US


                   FPL
                   General Mail Facility
                   Miami, FL 33188


                   Franchise Tax Board
                   Attention Bankruptcy
                   PO Box 2952
                   Sacramento, CA 95812-2952


                   Frank Dombrowski
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                   Sunrise, FL 33323


                   Frank Sampedro
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                   Fredericksburg, VA 22079


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                   West Grove, PA 19390


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                   Suite 300
                   Chicago, IL 60606
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                   2002 Synergy Drive
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                   Atlanta, GA 30318


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                   Las Vegas, NV 89119


                   Gabriel Stanhope
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                   Garfield Adrian Wilson
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                   Garrick Brian Vanderwal
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                   Saint Louis, MO 63132


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                   Scottsdale, AZ 85260


                   Gary M. Schofield
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                   115 National Ave Ste A
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                   Hampton, VA 23661


                   GATT Communications, Inc.
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                   GCSEAC, Inc.
                   200 Sellers Street
                   Martinsville, VA 24112


                   Gem Electronics of Monmouth, Inc.
                   400 West Harlem
                   Monmouth, IL 61462


                   General Communications
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                   Madison, WI 53179


                   General Communications
                   5157 Anton Drive
                   Madison, WI 53719


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                   P.O. Box 979009
                   Saint Louis, MO 63197
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                   George Spencer
                   9083 Moriset Ct
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                   Georgia Two-Way, Inc.
                   1206 GA Hwy 30 West
                   Americus, GA 31719


                   Gift of Life
                   -


                   GigaParts, Inc.
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                   Huntsville, AL 35814


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                   Yuma, AZ 85365


                   Gillard Construction & Communication
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                   Henderson, NV 89002


                   Gina Gardenhire
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                   Lewisville, TX 75057


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                   Boca Raton, FL 33434
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                   GLB Parts
                   Gilson Leonarczyk Barbosa
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                   PO Box 228354
                   Miami, FL 33222


                   Gleisy L Sopena
                   5550 Nw 192 Ln
                   Miami Gardens, FL 33055


                   Glen Goebel
                   700 W Rock Place, Glendale, WI 53209 US
                   Glendale, WI 53209


                   Global Experience Specialist,B of A
                   P.O. Box 96174
                   Chicago, IL 60693


                   Global Experience Specialists, Inc.
                   7000 Lindell Road
                   Las Vegas, NV 89118


                   Global Technical Systems
                   2270 W. Morton Ave
                   Jacksonville, IL 62650


                   Global Test Equipment
                   1424 Centre Circle
                   Downers Grove, IL 60515
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                   GMRS Outlet, LLC
                   2580 Simons Road
                   Oswego, IL 60543


                   GMRS Outlet, LLC
                   203 Lizska Lane
                   Owego, IL 60543


                   GnetworksUSA
                   -


                   GoDaddy.com, LLC
                   14455 N Hayden Road
                   Ste 100
                   Scottsdale, AZ 85260


                   Goin' Mobile, LLC dba Crystal Clear Co
                   690 Saratoga Rd
                   #130
                   Burnt Hills, NY 12027


                   Goodheart Brand Speciality Food Co.
                   11122 Nacogdoches Road
                   San Antonio, TX 78217


                   Google Ads



                   Google*Youtube TV
                   -
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                   GoToWebinar



                   Government Contract Consultant LLC
                   8762 Berline Drive
                   San Diego, CA 92119


                   Government Wireless Tech & Comm
                   4109 Olney-laytonsville Road
                   Olney, MD 20832


                   Governor's Hurricane Conference
                   1401 Maclay Commerce Drive
                   Tallahassee, FL 32312


                   GraCom Solutions LLC
                   42 County Road 1495
                   Cullman, AL 35058


                   Grant Reade
                   7 2nd St.
                   Yorkville, NY 13495


                   Graystone Partners, LLC.
                   5151 N Oracle Rd
                   Suite 209
                   Oro Valley, AZ 85704


                   Greater California Fire Sprinkler
                   P.O. BOX 402
                   Yorba Linda, CA 92885
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                   Greenleaf Foods, SPC
                   3901 7th Avenue South
                   Seattle, WA 98108


                   Greg Dittlinger
                   242 Bland Ave
                   Benton, MO 63736


                   Greg Lieber
                   11949 Shallowbrook Drive
                   Saint Louis, MO 63146


                   Greg Pickarski
                   5250 Pleasure Island Rd
                   Orlando, FL 32809


                   Gregg Frey
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                   Maryville, TN 37803


                   Gregg Pruitt
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                   Hollywood, FL 33025


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                   Benton, MO 63736


                   Gregory H Bowswell
                   412 Roosevelt Ct
                   Ventura, CA 93003
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                   Groton Dunstable School District
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                   Groups Meetings Incentives, Inc.
                   1700 Niagara Lane
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                   Minneapolis, MN 55447


                   Grupo Atayan S.A. de C.V.
                   Fujiyama 142 Col. Las Aguilas
                   Alvaro, Obregon, CDMX CP 01710


                   GTS Radio-d/b/a Air Comm, Inc
                   4840 S. 35th Street
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                   H2O Digital Marketing
                   9011 Leslie Street Suite 204
                   Richmond Hill, ON L4B 3B6
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                   Hall Prangle & Schoonveld, L.L.C.
                   200 South Wacker Drive
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                   Hampton Inn & Suites
                   10990 Marks Way
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                   Harmer Radio & Electronics, Inc
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                   Kahuiui, HI 96732


                   Harris Corp. Public Saftey And Prof Comm
                   PO Box 9001
                   Melbourne, FL 32909


                   Hartford Healthcare
                   189 Storrs Road
                   Manchester Center, CT 06250


                   Hartford Insurance Co



                   Harty and Moore Radio
                   2100 E. Blackstock Rd.
                   Roebuck, SC 29376


                   Haynes Communications
                   24261 S 1250 Rd
                   Moundville, MO 64771
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                   Hazardous Material Compliance Inc
                   PO Box 520596
                   Miami, FL 33152


                   HC Global
                   358 Main Street North
                   Huntingdon, PA 15642


                   Heywood Hospital
                   242 Green Street
                   Gardner, MA 01440


                   Hi-Tech/SMR Communications
                   255 Bell Road
                   Suite A
                   Niles, MI 49120


                   HIFI Sound Connection
                   -


                   HighJump - Accellos Inc
                   90 S Cascade Avenue
                   Suite 1200
                   Colorado Springs, CO 80903


                   Highland Wireless Services, LLC
                   4400 N. Federal Hwy
                   Boca Raton, FL 33431


                   Hilcraft
                   P.O Box 110687
                   Hialeah, FL 33011
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                   Hilton Dallas Lincoln Centre
                   5410 LBJ Fwy
                   Dallas, TX 75240


                   Hilton Fort Lauderdale Beach Resort
                   505 N Ft Lauderdale Beach Blvd.
                   Fort Lauderdale, FL 33304


                   Hilton Garden Inn
                   Albany, NY 12206



                   Hinckley Springs
                   PO Box 660579
                   Dallas, TX 75266-0579


                   Hitech Radio Communications
                   17306 NW 74th ave
                   Apt 101
                   Hialeah, FL 33015


                   HMS Motorsport
                   119 Bevan Dr.
                   Mooresville, NC 28115


                   Ho Kyung Jo



                   Holst v. Patten
                   P.O. Box 102-1000
                   San Jose, Costa Rica
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                   Holy Rosary
                   770 Aloha St
                   Edmonda, WA 98020


                   Homeland Safety Systems
                   534 Caudron Lane
                   New Iberia, LA 70560


                   Hotel Indigo Waterfront Place
                   1028 13th Street
                   Everett, WA 98201


                   Hotel Preston
                   733 Briley Parkway
                   Nashville, TN 37217


                   Howard Newman
                   2307 E Redwood
                   Chandler, AZ 85286


                   HRO, Inc.dba Ham Radio Outlet
                   933 N. Euclid Street
                   Anaheim, CA 92801


                   HRO, Inc.dba Ham Radio Outlet
                   110 Tampico, #110
                   Walnut Creek, CA 94598


                   HTY North America, Inc.
                   320 International Pkwy
                   Sunrise, FL 33325
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                   Hub City Technical
                   98 Malibu Drive
                   Spartanburg, SC 29303


                   Hugh Cullin
                   7344 East Hinsdale Drive
                   Centennial, CO 80112


                   Hunter Romero
                   102 Portsmouth Dr.
                   Broussard, LA 70518


                   Hydro Backflow
                   1418 S Azusa Ave #4055
                   West Covina, CA 91791


                   Hytera - America Canada



                   Hytera - America Latina
                   3315 Commerce Pkwy
                   Miramar, FL 33025


                   Hytera America
                   3315 Commerce Parkway
                   Miramar, FL 33025


                   Hytera America - DR
                   Jose Amado Soler No 14, Serralles
                   Santa Domingo, DM 10127
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                   Hytera America Inc.
                   320 International Pkwy
                   Sunrise, FL 33325


                   Hytera Co., Ltd. (Russia)
                   -


                   Hytera Comm. America (West) Inc.
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                   Unit 200
                   Irvine, CA 92618


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                   Unit 200
                   Irvine, CA 92618


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                   Alphaville Industrial Barueri
                   San Paolo, Brasil


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                   Queensland, Australia 04113-0000


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                   Richmond Hill, ON L48 3E6, CA


                   Hytera Communications (Hong Kong)
                   Company Limited
                   Unit 10 on 22nd Floor Ricky Centre
                   No 36 YIP Street
                   Kowloon, Hong Kong
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                   Hytera Communications (U.K.) Co.Limited
                   939 Yeovil Road
                   Slough, Berkshire SL1 4NH


                   Hytera Communications Corp. Limited
                   Hytera Tower
                   Hi-Tech Industrial Park North
                   9108#Beihuan Road, Nanshan District
                   Shenzhen, Guangzhou China


                   Hytera Communications Corp., Ltd.
                   Shenzhen High-Tech Industrial Park
                   North Beihuan Road
                   Nanshan District
                   Shenzhen, China


                   Hytera Communications Corporation Ltd
                   HYT Tower, Shenzhen High Tech Industrial
                   Nanshan District Shenzhen, P.R.C.,, Chin


                   Hytera Communications(Canada) Inc.
                   11-100 Leek Crescent
                   Richmond Hill, Canada L4B 3E6


                   Hytera Comunicacoes do Brasil Ltda.
                   Rua Florida, 1703, CONJ 81
                   Brazil CP 04565-001


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                   Schaumburg, IL 60193


                   Hytera Mobilfunk GmbH
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                   Bad Munder, Germany 31848
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                   Lima, Peru


                   Hytera Mobilfunk GmbH Sucursal del Peru
                   Av. Alfredo Benavides 1238
                   Miraflores, Peru


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                   Las Condes, Chile


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                   Lakewood, NJ 08701


                   IE Communications
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                   Saint Louis, MO 63132


                   IECESC
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                   Muldrow, OK 74948


                   Illinois Department of Revenue
                   P.O. Box 19006
                   Springfield, IL 62794


                   Illinois Dept of Revenue
                   P O Box 19035
                   Springfield, IL 62794
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                   Illinois Dept. of Revenue
                   PO Box 19030
                   Springfield, IL 62794-9030


                   Illinois Secretary of State
                   100 W Randolph
                   Chicago, IL 60601


                   Illinois Secretary of State
                   213 State Capitol
                   Springfield, IL 62756


                   IMEQ - Industrial Material & Equipment,
                   8105 N.W. 29th Street
                   Miami, FL 33122


                   Impact Radio Accesories
                   1290 St. Paul Street
                   Suite 309
                   Kelowna, VIY 2C9 Canada


                   In-Line Two Way Radio
                   31858 Castaic Road No. 143
                   Castaic, CA 91384


                   Independent Studio Services
                   9545 Wentworth Street
                   Sunland, CA 91040


                   Indian Community School
                   10405 W Saint Martins Road
                   Franklin, WI 53132
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                   Indianapolis Communications, Inc.
                   245 North Range Line Road
                   Carmel, IN 46032


                   Industrial Communications
                   16610 E Sprague Ave
                   Veradale, WA 99037


                   Industrial Communications
                   350 NW 215 St
                   Miami, FL 33169


                   Industrial Communications LLC
                   1720 4th Ave S
                   Seattle, WA 98134


                   Industrial Electronics
                   1009 Madison Avenue
                   Scranton, PA 18510


                   Industrial Training Center
                   4281 NW 167th Street
                   Miami, FL 33055


                   Infinity Wireless, Inc.
                   9494 Hemlock Lane N
                   Maple Grove, MN 55369


                   Informa Business Media
                   24654 Network Place
                   Chicago, IL 60673
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                   Ingenious
                   Calzade de Azcapotzalco
                   La Villa 988 Colnia Industria
                   Vallejo, Mexico City MX


                   InnerWorkings
                   7503 Solution Center
                   Chicago, IL 60677-7005


                   Innovera Limited
                   6007 Plum Isle Way
                   Tamarac, FL 33321


                   Insight Direct USA, Inc.
                   910 W. Carver Road
                   Suite 110
                   Tempe, AZ 85284


                   Insight Global
                   P.O. Box 198226
                   Atlanta, GA 30384


                   Insitel S.A
                   Calle 144 # 21 - 44
                   Bogota, Columbia


                   Integrated Circuits
                   806 Cedar
                   Yukon, OK 73099


                   Integrity Communications & Electronics,
                   1322 East County Road 100
                   Kokomo, IN 46901
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                   Intellitech Wireless Systems
                   20725 Ne 16 Ave A-44
                   Miami, FL 33179


                   Intepla S.R.L.
                   Calle 14 No. 1286
                   La Plata, Argentina


                   Internal Revenue Service
                   PO Box 7346
                   Philadelphia, PA 19101-7346


                   International Agri-Center,Inc.
                   4500 South Laspina St
                   Tulare, CA 93274


                   International Paper
                   3904 W. Ferguson Road
                   Ft. Wayne, IN 46809


                   International Radio LLC
                   14651 Biscayne Blvd
                   # 101
                   Miami, FL 33181


                   International Video Comm. LLC
                   15239 SW 31st Street
                   Miami, FL 33185


                   Interstate Comm. & Electronics
                   652-D State Street
                   Beaver, PA 15009
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                   Inversiones En Tecnologia I.T.S.A
                   P.O. Box 102-1000
                   San Jose, Costa Rica


                   Ion, Inc.
                   11550 Stillwater Blvd N #123
                   Lake Elmo, MN 55042


                   Iowa Department of Revenue
                   PO Box 10412
                   Des Moines, IA 50306-0412


                   Ira Knigin
                   2866 Clubhouse Road
                   Merrick, NY 11566


                   Irvine Office and Storage
                   4540 Campus Drive, Ste. 100
                   Newport Beach, CA 92660


                   Irvine Ranch Water District
                   PO Box 51403
                   Los Angeles, CA 90051-5703


                   ISD 197 School Age Care
                   1979 Summit Lane
                   Mendota Heights, MN 55118


                   ISE, S.A. DE C.V.
                   Col. San Francisco
                   San Salvador, El Salvador
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                   Israel Pagan JR
                   3865 NW 115th Terrace
                   Sunrise, FL 33323


                   J & A Communications, LLC
                   4704 N. 550 W.
                   Fairland, IN 46126


                   J & K Communications, Inc
                   222 South Towerview Drive
                   Columbia City, IN 46725


                   J & R Comm. & Electronics, Inc.
                   P.O. Box 305
                   Baldwyn, MS 38824


                   J & S Communications, LLC
                   2701 Stringtown Road
                   Evansville, IN 47711


                   J&H Radio
                   191 Belleville Ave
                   Belleville, NJ 07109


                   J.J. Keller & Associates, Inc.
                   PO Box 6609
                   Carol Stream, IL 60197-6609


                   JA Communications Enterprises LLC dba Fi
                   505 Airline Dr.
                   Coppell, TX 75019
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                   Jackson Communication Service, LLC
                   1309 E Ridgewood Road
                   Jasper, AL 35504


                   Jackson Lewis P.C.
                   75 Park Plaza
                   Boston, MA 02116


                   Jacob Miller
                   9947 Kilternan Rd.
                   Pineville, NC 28134


                   Jaguar/Land Rover Newport BCH
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                   Newport Beach, CA 92660


                   James Atkinson
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                   Bethnal Green, London E2 9LX


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                   10 Locust St
                   Angola, NY 14006


                   James Lambrecht
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                   Evergreen Park, IL 60805


                   James M. Reville
                   7 Butternut Rd
                   Cheektowaga, NY 14227
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                   James Whitehead
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                   Jamie Hughes
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                   Bremerton, WA 98311


                   Janet Garcia
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                   Jani-Kinf of IL
                   2791 Monentum Place
                   Chicago, IL 60689-5327


                   Jannine Herrera Corea
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                   Miramar, FL 33025


                   Jay Hsieh



                   JDC Atkinson
                   -


                   Jeannie Jones
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                   Jeff Hill
                   416 Brackett St. S
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                   Jeffery S. Hill
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                   Jiaping Ma
                   -


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                   Jocelyn Zhong
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                   Katy, TX 77494


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                   Pompano Beach, FL 33062
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                   Jomtel Telecommunicacions SA de CV
                   Laureles No.46
                   Col.Jardines de Atizapan
                   Atizapan de Zaragoza
                   Estado de Mexico, CP 52978


                   Jomtel Telecomunicaciones SA de CV
                   Laureles No 46 Col Jardines De Atizapan
                   Mateos, Mexico 52978-0000


                   Jon Evans
                   -


                   Jonathan Evans
                   -


                   Jonathan Koorsen
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                   Jose L. Rodriguez
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                   Jose Luis Rodriguez
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                   Yorkville, NY 13495


                   JT&T Radio Solutions, LLC
                   375 S Jerome Drive
                   Wasilla, AK 99654


                   JurisLogic LLC
                   25 NW 23rd Place
                   Suite 6, PMB 169
                   Portland, OR 97210


                   K&J Landscape Services
                   4540 Campus Drive
                   Newport Beach, CA 92660


                   K.R. Nida Corp
                   3827 Foothill Blvd
                   La Crescenta, CA 91214


                   Ka-Comm Inc.
                   326 South Clark Street
                   Salina, KS 67401
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                   Karon Rutsch
                   5 Roeper Dr.
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                   Independence, MO 64050


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                   Keller Communications / Clear Call
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                   Dallas, TX 75244


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                   Mesa, AZ 85201


                   Kelly Tractor
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                   Davie, FL 33314


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                   Bellevue, WA 98006


                   Kevin Nolan
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                   Bradford, TN 38316
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                   Suite 349
                   Lyndhurst, NJ 07071


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                   Escondido, CA 92029


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                   Boston, MA 02241-9290


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                   New Leipzig, ND 58562


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                   Phildelphia, PA 19101
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                   1279 42nd Street
                   Brooklyn, NY 11219


                   Kristen Pope, LLC
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                   Victor, ID 83455


                   Kuntz Farms
                   6765 66th St SW
                   Elgin, ND 58533


                   Kurt Whitlock Associates, Inc.
                   1437 Hamlin Ave
                   Saint Cloud, FL 34771


                   KX Group Inc
                   18750 Colima Rd, Suite E
                   Roland Heights, CA 91748


                   L & B Electronics
                   113 Midway Rd.
                   Eldon, MO 65026


                   L & W Emergency Equipment, Inc.
                   332 South Main Street
                   Lawrenceburg, KY 40342


                   Ladycomm
                   P.O. Box 1721
                   Melrose, FL 32666
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                   Laird Technologies
                   1181 Momentum Place
                   Chicago, IL 60689


                   Lakeland Communications
                   P.O. Box 205
                   Wadsworth, IL 60083


                   Lakeland Communications
                   P.O. Box 820
                   Lake Villa, IL 60046


                   Lannon Stone Products Inc
                   N52 W23096 Lisbon Rd
                   Sussex, WI 53089


                   Lasuca Farm LLC
                   6092 Resweber Hwy
                   Saint Martinville, LA 70582


                   Lattice Global Service SA
                   -


                   Laura Cheshire
                   6 Merriwood Lane
                   Green Brook, NJ 08812


                   Lauttamus Communications
                   1334 Cove Hill Road
                   Weirton, WV 26062
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                   Law Offices of Richard S. Cohen LLC
                   -


                   LDS Cleaning & Maintenance
                   PO Box 292648
                   Fort Launderdale, FL 33329


                   Leann Rodriguez
                   1049 Acorn Ln
                   Burleson, TX 76028


                   Leann Rodriguez
                   905 Walnut St
                   Burleson, TX 76028


                   Leavitt Commuincations, LLc
                   7508 N Red Ledge Drive
                   Paradise Valley, AZ 85253-2850


                   Legacy Office Solutions
                   754 Jamaica Avenue
                   Brooklyn, NY 11208


                   Leischner Electric Inc. dba Unicom
                   3811 Lockport St Suite 1
                   Bismarck, ND 58503


                   Lenovo Inc.
                   P.O. Box 643055
                   Pittsburg, PA 15264
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                   Leonard Christopher Gay
                   8468 NE 170th St
                   Kenmore, WA 98028


                   Leonardo Guevara
                   4404 Sw 160th Avenue
                   Apt #830
                   Hollywood, FL 33027


                   Level One Excavating
                   3500 Global Drive
                   Bismarck, ND 58501


                   Levick Strategic Communications, LP
                   1900 M Street
                   NW Washington, DC 20036


                   LG Communications & Service
                   147 Swansea Mall Drive S
                   Swansea, MA 02777


                   Libarcom Group Inc.
                   Weston, FL 33326



                   Liberty Mutual
                   PO Box 85834
                   San Diego, CA 92186-5834


                   Lichterman Technical Services
                   116 S.W. 2nd Ave.
                   Hallandale, FL 33009
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                   Lincoln Land Communications
                   1326 N. Kickapoo
                   Lincoln, IL 62656


                   Linda J. Harmon
                   2831 Lakeshore Drive
                   Saint Joseph, MI 49085


                   Link America LLC
                   3002 Century Drive
                   Rowlett, TX 75088


                   Link MCS LLC
                   600 East Centre Park Blvd
                   De Soto, TX 75115


                   LinkedIn



                   Lintong Qi
                   3315 Commerce Pkwy
                   Hollywood, FL 33025


                   Logistic Solutions
                   12523 Limonite Ave
                   Suite 440-391
                   Mira Loma, CA 91752


                   Logistica Humanitaria
                   Tread well Lp. 1122,
                   Clayton Ciudad de, Panama
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                   Logos Professional Law Corp
                   34 Executive Park
                   Suite 275
                   Irvine, CA 92614


                   Loudoun County Public Schools
                   21000 Education Court
                   Suite #313
                   Ashburn, VA 20148


                   Louisiana Department of Revenue



                   Luis Hochnadel
                   -


                   Luis Ibarra



                   Mace Incorporated
                   5821 Arrowhead Drive
                   Suite 101
                   Virginia Beach, VA 23462


                   Madawaska School Department
                   328. St. Thomas Street
                   Suite 201
                   Madawaska, ME 04756


                   Magic Colors Painting, Inc.
                   PO Box 87376
                   Carol Stream, IL 60188
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                   Magnolia Av
                   -


                   Magycorp S.A.
                   Calle Cub Scout #41, Ensanche Naco, DN,
                   Santo Domingo, Dominican Republic


                   Maine Radio
                   PO Box 7264
                   Scarborough, ME 04070


                   MaineStream Solutions LLC
                   15 Crovemount Lane
                   Lewiston, ME 04240


                   Maison Moving
                   1371 Santa Fe Dr
                   Tustin, CA 92780


                   Majestic Fire Protection
                   4804 Laurel Canyon Blvd.
                   Suite 757
                   Valley Village, CA 91607


                   Map Your Show
                   PO Box 638886
                   Cincinnati, OH 45263-8886


                   Marcus Communications LLC
                   PO Box 1498
                   Manchester, CT 06045
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                   Maria Brancaccio-Fleet
                   80 Willington Ave
                   Stafford Springs, CT 06076


                   Marine Imaging Systems S.A.
                   Avda. Barros Arana 333 Caleta Amarilla
                   Concon, Chile


                   Mark Cline
                   1016 Lila Drive
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                   Mark Greenlee
                   16279 Dutch Barn Drive
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                   Mark Jordan
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                   Mark Maynard
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                   Mark Rosen
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                   Marlin Business Bank
                   PO Box 13604
                   Philadelphia, PA 19101-7155
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                   Marlin Capital Solutions
                   300 Fellowship Road
                   Mount Laurel, NJ 08054


                   Marriot Business Services
                   P.O. Box 402642
                   Atlanta, GA 30384


                   Martha Cleaning Services
                   8449 Lakeview Trail
                   Parkland, FL 33076


                   Martin Gregory Bleck
                   N9220 Dohm Dr Apt 2 Belleville WI 53508
                   Belleville, WI 53508


                   Mary McIlquham
                   2821 12th St.
                   Eau Claire, WI 54703


                   Matt Lunati
                   650 N. Penrod Road #175
                   Show Low, AZ 85901


                   Matthew Bussey
                   7531A Byron Place
                   St. Louis, MO 63105


                   Matthew Casares
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                   Matthew John Risley
                   2133 Valley Rd.
                   Oceanside, CA 92056


                   Matthew McPeak
                   1405 Ridge Court
                   Oakland Twp, MI 48306


                   McCarter Communications
                   1810 Hammer Road
                   Dandridge, TN 37725


                   McLaggan Comm. & Radar Service
                   70 Giddens Rd
                   Hahira, GA 31632


                   McLaren Medical Center - Macomb
                   PO Box 326
                   Mount Clemens, MI 48046


                   MD Comunicaciones Y Equipos
                   Carratera Mella KM 8 1/2 Local 2K
                   Santo, Dominican Republic


                   Meca Electronics Inc.
                   459 East Main Street
                   Denville, NJ 07834


                   Megahertz Technology, Inc
                   5622 East University Blvd.
                   Dallas, TX 75206
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                   Megatronics International
                   6137 Wilshire Blvd.
                   Los Angeles, CA 90048


                   Mehaffy & Weber, A Prof. Corp.
                   P.O. Box 16
                   Beaumont, TX 77704-0016


                   Memphis Zoo & Zoological
                   2000 Prentiss Place
                   Memphis, TN 38112


                   Mercer Health
                   800 West Main Street
                   Coldwater, OH 45828


                   Merilyn Sanchez
                   -


                   Metro Communications and Electronics
                   5570 Bershire Valley Road
                   Oak Ridge, NJ 07438


                   Metrocom NY Inc.
                   33 East 33rd Street
                   New York, NY 10016


                   MetroTalk Inc
                   4246 Kenilworth Ave
                   Bladenburg, MD 20710
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                   MGR Electronics Corp
                   13978 SW 139 Court
                   Miami, FL 33186


                   Miami Dade Expressway Authority (MDX)
                   PO Box 865009
                   Orlando, FL 32886


                   Miami Fork Lift Services, Corp
                   7910 West 25th Ave
                   Hialeah, FL 33016


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                   Roxbury, CT 06783


                   Michael D Olliges
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                   Chesterfield, MO 63017


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                   Greenboro, NC 27408


                   Michael Garrett
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                   Greenboro, NC 27408


                   Michael Goulette
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                   Michael K. Allen
                   15690 Cupid Dr
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                   Glenview, IL 60025


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                   Sandy, UT 84094


                   Michael Russell
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                   Cameron, MO 64429


                   Michell Consulting
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                   Miami, FL 33222


                   Michell Consulting Group
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                   Miami, FL 33166


                   Micromagic Co., Inc.
                   2640 East 14th Street
                   Unit C2
                   Brooklyn, NY 11235


                   Micromagic Co., Inc.
                   1785 78th ST
                   Brooklyn, NY 11214
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                   Microsoft
                   PO Box 842103
                   Dallas, TX 75284-2103


                   Mid State Communications Services
                   P.O BOX 13044
                   Alexandria, LA 71315


                   Mid-State Mobile Radio
                   1681 South Olden Ave
                   Trenton, NJ 08610


                   Middle Tennessee Two-Way Inc.
                   P.O. Box 203
                   Shelbyville, TN 37162


                   Midwest Mobile Radio Service Inc.
                   812 South 10th Street
                   Saint Joseph, MO 64501


                   Midwest Radio Systems, Inc
                   216 Roberta Drive
                   Bismark, MO 63624


                   Midwest Wireless LLC
                   5915 Brady St
                   Davenport, IA 52806


                   Mike Ding
                   3315 Commerce Pkwy
                   Miramar, FL 33025
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                   Mike Gardenhire
                   Lewiseville, KY 75029



                   Mike Hunziker
                   9264 W Friend Dr
                   Littleton, CO 80128


                   Mike Olliges
                   14591 Ladue Rd
                   Chesterfield, MO 63017


                   Mike Russell
                   -


                   Milltech Marine
                   120 Harrison Ave
                   Port Orchard, WA 68366


                   Milner
                   P.O. Box 923197
                   Norcross, GA 30010


                   Min Pan



                   Minesafe Electronics, Inc.
                   P.O. Box 281
                   Sturgis, KY 42459
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                   Minghua Xu



                   Mingrui Yan
                   Boca Raton, FL 33428



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                   8868 Barrette Ave
                   Rosemead, CA 91770


                   Minuteman Press of Miramar
                   12004 Miramar Parkway
                   Miramar, FL 33025


                   Mitch Aker
                   3117 Ensign Ave N
                   New Hope, MN 55427


                   Mitchell Communications Inc.
                   3470 Manchester Rd.
                   Akron, OH 44319


                   MKS S.A.
                   Avda. Antonio Varas No. 2287
                   Santiago, Chile


                   Mobile Communications America
                   234 Blountstown
                   Tallahassee, FL 32304
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                   Mobile Communications, Inc.
                   2646 Turners Creek Road
                   Yadkinville, NC 27055


                   Mobile Data Concepts
                   1007 Warren Street
                   Greensboro, NC 27403


                   Mobile-One Communications
                   14140 S. Tamiami Trail
                   North Port, FL 34287


                   Modern Business Resources LLC
                   N988 W. Lake CT.
                   Hortonville, WI 54944


                   Momentum Service Center
                   221 Jefferson Ridge Pkwy
                   Lynchburg, VA 24501


                   Monterey Graphic Printing
                   9934 Bell Ranch Dr.
                   Santa Fe Springs, CA 90670


                   Moody Plumbing Inc.
                   4100 NW 120th Ave.
                   Coral Springs, FL 33065


                   Moore Farms Botanical Garden Foundation
                   1642 Pine Bay Road
                   Lake City, SC 29560
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                   Moraine Radio
                   1631 N. Main Street
                   West Bend, WI 53090


                   Morgan Lewis & Bockus LLP
                   77 W. Wacker Drive
                   Chicago, IL 60601


                   Morne Stramrood
                   13322 Rising Bluff Lane
                   Cypress, TX 77429


                   Morningside Evaluations & Consulting
                   450 7th Avenue
                   Suite 1107
                   New York, NY 10123


                   Morningside Translations, LLC
                   450 7th Avenue
                   Suite 1001
                   New York, NY 10123


                   Moss Adams LLP
                   PO Box 101822
                   Pasadena, CA 91189


                   Moss Communications
                   4101 W. Cypress Street
                   Tampa, FL 33607


                   Motorola Solutions Inc.
                   500 West Monroe Street
                   Chicago, IL 60666-1000
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                   Motorola Solutions Malaysia Sdn.Bhd
                   2A, Medan Bayan Lepas
                    Bayan Lepas Technoplex
                   11900 Bayan Lepas
                   Pulau Pinang, Malaysia, CA


                   Mount Hermon Assoc
                   37 Conference Dr
                   Felton, CA 95018-9743


                   Mount Saint Mary College
                   330 Powell Avenue
                   Newburgh, NY 12550


                   Mountain Communications
                   PO Box 533
                   Young Harris, GA 30582


                   MP Design & Printing
                   272 E. Garvey Ave. M
                   Monterey Park, CA 91755-1849


                   Mr Sharpie's
                   328 S Federal Hwy
                   Dania, FL 33004


                   Mr. Radio Of Arizona Inc.
                   1524 E. Drinda Way
                   Fort Mohave, AZ 86426


                   MSAD 52
                   486 Turner Center Rd
                   Turner, ME 04282
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                   Multicom, Inc
                   201 Wayne Street
                   Hollisdayburg, PA 16648


                   Multiradio S.A.
                   Av Cordoba 4860
                   Buenos Aires, Argentina


                   Music Haven Inc dba Valley Communication
                   178 West Main Street
                   Fort Kent, ME 04743


                   My Case Builder
                   510 E. 31st Street
                   Paterson, NJ 07504


                   N Touch Wireless
                   1049 Durham Rd
                   Ste. G
                   Roxboro, NC 27573


                   Nancy Baker
                   813 North Gov. Williams Highway
                   Darlington, SC 29532


                   Nashoba Regional School District
                   50 Mechanic Street
                   Bolton, MA 01740


                   NASRO
                   2020 Valleydale Road
                   Suite 207A
                   Hoover, AL 35244
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                   National Orders, Inc
                   4821 N Grady Ave
                   Tampa, FL 33614


                   Nationwide Computer Systems
                   P.O. BOX 551149
                   Davie, FL 33355


                   Nationwide Generators
                   359 W Irving Park Road
                   Roselle, IL 60172


                   NCC Group, Inc.
                   123 Mission Street 9th Floor
                   San Francisco, CA 94105


                   ND Crush Softball LLC
                   3080 Knolin Dr.
                   Suite 6
                   Bossier City, LA 71112


                   Near North Customs Brokers Inc.
                   20 Elliott Ave B
                   Barrie, ON L4N 4V7


                   Neil Page
                   6191 Orange Drive
                   Davie, FL 33314


                   Nelson Mesa
                   -
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                   New Jersey
                   Department of the Treasury
                   Division of Taxation
                   PO Box 198
                   Trenton, NJ 08695


                   New Jersey Department of State
                   PO Box 300
                   Trenton, NJ 08625


                   New Jersey Dept. of Treasury
                   Division of Taxation
                   153 Halsey St.
                   Box 47022
                   Newark, NJ 07101-8004


                   New London Technology, Inc
                   23 Turkeyfoot Road
                   Lynchburg, VA 24502


                   Newark Element14
                   33190 Collection Center Drive
                   Chicago, IL 60693-0331


                   Newmar
                   P.O. BOX 1306
                   Newport Beach, CA 92663


                   Ni Huang
                   11001 Highridge Street
                   Fairfax Station, VA 22039


                   Nicor Gas
                   PO Box 5407
                   Carol Stream, IL 60197-5407
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                   Nielson Communications, Inc.
                   645 Mike McCarthy Way
                   Green Bay, WI 54304


                   Nielson Communications, Inc.
                   645 Potts Avenue
                   Green Bay, WI 54304


                   Nisbet Plantation Beach Club
                   New Castle, St. James Parish Nevis
                   West Indies, Saint Kitts Nevis


                   NJ Transit
                   Attn: Ed Velez, Radio System
                   180 Boyden Avenue S
                   Maplewood, NJ 07040


                   No Bugs Left Behind
                   3040 North 73 Terrace
                   Hollywood, FL 33024


                   Norsat (Canada) International Inc.
                   110-4020 Viking Way
                   Richmond, Canada V6V 2L4


                   North America Tetra Forum
                   2551 Riva Rd
                   MS 6-3516A
                   Annapolis, MD 21401


                   North American Mobile Systems, Inc
                   37-03 Woodside Avenue
                   Woodside, NY 11377
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                   North Carolina Dept of Revenue
                   PO Box 25000
                   Raleigh, NC 27640


                   North Carolina Dept of Revenue
                   ATtn: Bankruptcy Unit
                   PO Box 1168
                   Raleigh, NC 27602


                   North Carolina Secretary of State
                   Corporations Division
                   2 S Salisbury St
                   Raleigh, NC 27601


                   North Carolina State Controller
                   3512 Bush Street
                   Raleigh, NC 27609


                   North Mississippi 2 Way Comm.
                   2430 Mount Pleasant Road
                   Hernando, MS 38632


                   North Sight Communications Inc. dba/ Pro
                   P.O. Box 51148
                   Toa Baja, PR 00950


                   Northeast Communications, Inc
                   244 East Union Turnpike
                   Wharton, NJ 07885


                   Northeast Two Way Radio Corporation
                   315 New Boston St.
                   Ste 4
                   Woburn, MA 01801
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                   Northeast Two-Way Communications
                   69 A Hillside Road
                   Deerfield, MA 01373


                   Northeastern Technologies Inc.D/B/A Nort
                   2527 South Ridge Rd East
                   Ashtabula, OH 44004


                   NorthWest Towers, LLC
                   12119 NE 99th St. Suite 2000
                   Vancouver, WA 98682


                   Novus, LLC
                   PO Box 828928
                   Philadelphia, PA 19182


                   NRECA
                   PO Box 758777
                   Baltimore, MD 21275


                   Nuebis LLC
                   1342 Bell Avenue, #D
                   Tustin, CA 92780


                   Nuevalife Inc
                   1015 W university Ave.
                   Suite 2
                   Gainesville, FL 32601


                   Nutec Electro Tel
                   3720B 48 Avenue
                   Camrose, AB T4V 4S1
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                   NW Communications, Inc.
                   3926 Iron Gate Rd
                   Ste A
                   Bellingham, WA 98226


                   Oceanica Logistic Group
                   9372 NW 101 St
                   Miami, FL 33178


                   Octane Group Inc.
                   11700 W. Charleston #170-484
                   Las Vegas, NV 89138


                   Office Depot
                   P.O. Box 88040
                   Chicago, IL 60680


                   Office Team
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                   Chicago, IL 60693


                   Ogletree Deakins Nash Smoak & Stewart
                   PO Box 89
                   Columbia, SC 29202


                   Oliverio Santoyo
                   1931 Huncliff Drive
                   Lawrenceville, GA 30043


                   Omega Communications Ltd.
                   100-1751 Harvey Avenue
                   Kelowna, BC V1Y 6G4
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                   Omega Telecom Limited
                   No. 3 Victoria Street
                   Siparia Trinidad, Tobago


                   One LLP
                   Attn. Joseph Kuan Liu
                   4000 MacArthur Boulevard
                   East Tower, Suite 500
                   Newport Beach, CA 92660


                   One Voice



                   OneLink Wireless
                   7321 N. Broadway
                   Oklahoma City, OK 73116


                   OneSource Wireless Commun.
                   6628 Sky Pointe Drive
                   Suite 101
                   Las Vegas, NV 89131


                   Online Freight Services Inc.
                   2275 Waters Drive
                   Mendota heights, MN 55120


                   Optima Property Service
                   4533 MacArthur Blvd, #560
                   Newport Beach, CA 92660


                   Orange County Assessor
                   PO Box 1949
                   Santa Ana, CA 92702-1949
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                   Orange County Convention Center
                   P.O. Box 691509
                   Orlando, FL 32869-1509


                   Orange County Convention Center
                   9800 International Drive
                   Orlando, FL 32819


                   Orange County Fire Authority
                   1 Fire Authority Road
                   Irvine, CA 92602


                   Orangeville School District #203
                   310 S. East Street
                   Orangeville, IL 61060


                   Orkin
                   PO Box 7161
                   Pasadena, CA 91109-7161


                   Oscar Ruiz
                   6894 NW 20th Ave
                   Fort Lauderdale, FL 33309


                   Oscar V. Uranga Jr
                   14529 Glencairn Rd
                   Hialeah, FL 33016


                   OSI International LLC
                   164 W Royal Palm Road
                   Boca Raton, FL 33432
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                   Otec Communication
                   13356 Indian Rd
                   Kewadin, MI 49648


                   Otec Communication
                   405 Pine St.
                   Elk Rapids, MI 49629


                   Over the Limit Appliances Service & Repa
                   110 SW 52nd Place
                   Coral Gables, FL 33134


                   Oxford Sand Company,         Inc.
                   693 Hwy 30 Oxford
                   Oxford, MS 38655


                   Ozark Communications
                   113 HIGHWAY 206
                   Everton, AR 72633


                   P.E.C. Mobile Communications
                   4690 PEC Road
                   Springfield, IL 62711


                   PAC Communications
                   1741 Clark Street
                   Aurburn, NY 13021


                   Pacific Bend Inc.
                   PO Box 9060
                   Redlands, CA 92375
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                   PackIT Communications
                   PO Box 308 Switzer
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                   New Haven, CT 06510


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                   9865 Pines Blvd
                   Pembroke Pines, FL 33024


                   Pamela Fifer
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                   Norte, Panama 0819-01226


                   Pandata Corp.
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                   Aurora, CO 80012


                   Panorama Antennas
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                   Manfield, TX 76063


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                   PO Box 50196
                   Los Angeles, CA 90074
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                   Paris Las Vegas
                   3655 S. Las Vegas Blvd
                   Las Vegas, NV 89109


                   Parkside at Memorial
                   777 S. Mayde Creek Drive
                   Houston, TX 77079


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                   Dallas, TX 75229


                   Patrick Green
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                   Paul Coughlin
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                   Escondido, CA 92029


                   Paul Wardner
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                   Riverton, WY 82501


                   Paw Paw Public Schools
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                   Paw Paw, MI 49079


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                   5170 E. Rt. 40
                   Tipp City, OH 45371
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                   PayPal, Inc.
                   -


                   PCM Link
                   11999 San Vicente Blvd.
                   Los Angeles, CA 90049


                   PCM Sales, Inc.
                   File 55327
                   Los Angeles, CA 90074


                   PCMLink
                   -


                   Peak Mobile Communication
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                   Peak Technical Services, Inc.
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                   Pittsburgh, PA 15238


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                   Suite 110
                   Ft. Lauderdale, FL 33331


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                   Suite C
                   Aberdeen, MD 21001
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                   Penton Media, Inc.
                   24652 Network Place
                   Chicago, IL 60673-1246


                   Performance 2-way
                   36073 Zion Church Rd
                   Frankford, DE 19945


                   Performance Freight Systems
                   P.O. BOX 518
                   Rancho Cucamonga, CA 91729


                   Perkins Coie LLP
                   131 S Dearborn Street
                   Suite 1700
                   Chicago, IL 60603


                   Pest Pro Services
                   3040 North 73 Terrace
                   Hollywood, FL 33024


                   Peter Gobi
                   14 Redwood Drive
                   Princeton, MA 01541


                   Peterson Radio, Inc
                   9711 US RT 52
                   Manchester, OH 45144


                   Petty Cash
                   320 International Pkwy.
                   Sunrise, FL 33325
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                   Philip Holman
                   1801 N Lazy Branch Road
                   Independence, MO 64058


                   Phoenix AC & Heating, Inc.
                   23192 Verdugo Drive
                   Suite B
                   Laguna Hills, CA 92653


                   Piedmont Communications Co, Inc
                   1519 Camden Avenue
                   Durham, NC 27704


                   Pinacle



                   Pingry School
                   131 Martinsville Road
                   Basking Ridge, NJ 07920


                   Pitney Bowes Inc.
                   P.O. Box 371887
                   Pittsburgh, PA 15250


                   Pittaluga, Delgado, Jim nez & Asociados



                   Pointon Communications
                   P.O Box 614
                   Baraboo, WI US
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                   Polic a Nacional
                   Av. Leopoldo Navarro Esp. Mexico # 16 Ga
                   Santo Domingo, Dominican Republic


                   Police Safety Systems Inc. d.b.a AMP Glo
                   90 N. Pioneer Ave
                   Shaverton, PA 18708


                   Porsche Financial Services
                   980 Hammond Dr
                   Altanta, GA 30328


                   Porsche West Broward
                   4641 SW 148th Avenue
                   Davie, FL 33330


                   Portable Communications, Inc.
                   P.O. Box 5247
                   Hialeah, FL 33014


                   Portable Radio Solutions LLC
                   Cabanillas Industrial Park
                   Carr 20km 5.2
                   Building 14
                   Guaynabo, PR 00970


                   Portable Repair, Inc.
                   5150 NE 6 Avenue
                   #125
                   Oakland Park, FL 33334


                   Portcom
                   107 Rustic Court
                   Perryville, MD 21903
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                   Potosi R-3 Schools
                   400 N Mine St
                   Potosi, MO 63664


                   PowerTrunk, Inc
                   66 York St, 4th Fl.
                   Jersey City, NJ 07302


                   PPI
                   PO Box 731712
                   Ormond Beach, FL 32173


                   Precedia Associates LLC
                   665 Lytton Ave
                   Suite 3
                   Palo Alto, CA 94301


                   Precision Communications Inc
                   PO Box 1685
                   Tupelo, MS 38802


                   Precision Electronics
                   454 North 1100 West
                   Centerville, UT 84104


                   Preferred Communications, Inc.
                   6584 County Rd 1025 E
                   Oakland City, IN 47660


                   Preferred Printing & Graphics
                   2605 Old Okeechobe Road
                   West Palm Beach, FL 33409
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                   Premium (Bodywear) Group
                   777 NW 72 Ave
                   Suite 3002
                   Miami, FL 33126


                   Presentation Services
                   -


                   PricewaterhouseCoopers LLP
                   P.O. Box 932011
                   Atlanta, GA 31193


                   Procom Corporation
                   8260 Patuxent Range Road
                   Jessup, MD 20794


                   Prodetel, C.A.
                   C.C.C.T. Torre B,Piso 3 Ofic.
                   Chuao, Caracas Venezuela


                   Professional Wireless Communications
                   451 Cliff Road East
                   Burnsville, MN 55337


                   Prointel Colombia SAS
                   Carrera 31A No 25B10
                   Bogota, Columbia


                   Proyectcom SAC (PCOM)
                   Paseo La Castellana N 280
                   Surco, Peru
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                   Pryme Radio Products
                   911 Mariner St
                   Brea, CA 92821


                   Pu Wang
                   100 Sw 10th St
                   Apt 509
                   Miami, FL 33130


                   Purchase Power
                   P.O. Box 856042
                   Louisville, KY 40285-6042


                   Qiaochu Du
                   FL 33326-5036



                   Quaboag Regional SD
                   284 Old West Brookfield Road
                   Warren, MA 01083


                   Quality Plus Cleaning Systems Inc.
                   P.O. BOX 772422
                   Coral Springs, FL 33077


                   Quelsy Torres
                   1256 Mcmahan Dr.
                   Lewisville, TX 75077


                   Quelsy Torres
                   501 Highland Dr
                   Apt 621
                   Lewisville, TX 75067
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                   R Communications Specialists
                   4364 Barrell Rd.
                   Sparta, WI 54656


                   R F Design
                   PO Box 65055
                   Philadelphia, PA 19155


                   R&L Carriers
                   R & L Carriers, Inc.
                   Columbus, OH 43271-3153


                   R&L Truckload Services
                   Bank of America Lockbox Services
                   Lockbox 7400819
                   Chicago, IL 60674


                   R+L Carriers
                   PO BOX 10020
                   Port William, OH 45164-2000


                   R.E.M. Communications Inc.
                   PO Box 248177
                   Columbus, OH 43224


                   R.F. Industries
                   7610 Miramar Road
                   Building 6000
                   San Diego, CA 92126


                   Rachel Romero
                   102 Portsmouth Dr.
                   Broussard, LA 70518
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                   Racom
                   201 W. State Street
                   Marshalltown, IA 50158


                   Radicom, Inc.
                   2604 N. Chapel Hill Road
                   Mchenry, IL 60051


                   Radifax
                   Apartado 1286-2050
                   San Jose, Costa Rica


                   Radio & Cellular Wireless Rentals
                   1111 Dillingham Blvd.
                   Suite E-7
                   Honolulu, HI 96817


                   Radio & System Solutions SA de Cv
                   Paseo de San Francisco 67
                   Jardines de Atizapan
                   Estado de Mexico C.P. 52978


                   Radio Communication Service
                   7285 Ridgeline Drive
                   Riverside, CA 92509


                   Radio Communications Company (NC)
                   P.O. Box 68
                   Cary, NC 27512


                   Radio Communications Mgmt
                   158 Rand Road Portland
                   Portland, ME 04102
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                   Radio Fontera SA DE CV
                   Carretera A Matamoros
                   K.M. 90 SN
                   Mexico C.P. 88760


                   Radio Frontera, S.A. de C.V.
                   Carretera A Matamoros KM.90 S/N, Col. El
                   Reynosa, Mexico 88760-0000


                   Radio One, Inc
                   4405 International Blvd Suite B-118
                   Norcross, GA 30093


                   Radio Ranch, Inc.
                   10924 Hoover Road
                   Rock Falls, IL 61071


                   Radio Services LLC.
                   1340 E Evans Pueblo CO 81004 US
                   Pueblo, CO 81004


                   Radiocom S.A.
                   Final 7A.AV.Norte No. 39 Residencial San
                   San Salvador, El Salvador


                   RadioHQ, Inc.
                   413 NE 38th Terrace
                   Oklahoma City, OK 73105


                   Radioland, Inc
                   1421 Lexington Road
                   Louisville, KY 40206
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                   RadioMax Communications Inc.
                   175 Buell Rd.
                   Rochester, NY 14624


                   Radiowave Communications LLC
                   2059 South Broadway
                   Unit F
                   Grand Junction, CO 81507


                   Radiowave Communications LLC
                   702 Woodland Country Drive
                   Grand Junction, CO 81507


                   Ragan Communications
                   2 Ragan Ct.
                   Washington, IL 61571


                   Ramin Hafezi
                   115 Ranch Trail
                   Williamsville, NY 14221


                   Rand Internet Marketing
                   600 W. Hillsboro Blvd Suite 130
                   Deerfield Beach, FL 33441


                   Randstad
                   PO Box 894217
                   Los Angeles, CA 90189-4217


                   Randstad
                   PO Box 742689
                   Atlanta, GA 30374
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                   Range Telecommunications
                   2342 US 41 West Marquette
                   Marquette, MI 49855


                   Rapicom Communications, Inc.
                   3830 W. 11 Avenue
                   Hialeah, FL 33012


                   Rapicom Communications, Inc.
                   4425 16 Avenue N.E.
                   Naples, FL 34120


                   Rasecom De Mexico S.A. DE CV
                   Deza Y Ulloa No 605 Col. San Felipe
                   Chihuhua, Mexico 31203-0000


                   Rassbach Communications
                   405 N. Hastings Place
                   Eau Claire, WI 54703


                   Raven Electronics Corporation
                   4655 Longley Lane
                   Suite# 106
                   Reno, NV 89502


                   Ray Electric Inc.
                   P.O. Box 53271
                   Bellevue, WA 98005


                   Ray's HVAC Service
                   1913 S Wrogjt Blvd
                   Schaumburg, IL 60193
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                   Raycom Comunicaciones
                   Salitrera Victoria Local 28 Zofriparts
                   Zofri Iquique, Chile 00111-3616


                   Raycom S.A.
                   Cerro Largo 760
                   Montevideo, Uruguay


                   Raylex Diginet S.A.
                   Av. Francisco Bilbao 2469
                   Providencia, Chile


                   Raymond Handling Solutions, Inc.
                   File 1700, 1801 W. Olympic Blvd
                   Pasadena, CA 91199


                   RC Electronics
                   8322 Antioch Rd
                   Salem, WI 53168


                   RCB ASSOC. dba Audio Communications
                   P.O. Box 220
                   Big Lake, MN 55309-0220


                   RCom Radio LLC
                   6016 Meade Avenue
                   San Diego, CA 92115


                   RCom Radio LLC
                   10733 NE 9 AVE
                   Miami, FL 33161
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                   ReadyRefresh
                   PO Box 856158
                   Louisville, KY 40285-6158


                   Red Cloud
                   2850 Camino Diablo
                   Walnut Creek, CA 94597


                   Reed Exhibitions
                   PO Box 9599
                   New York, NY 10087-4599


                   Regina Gonzales
                   14277 Preston Rd #714
                   Dallas, TX 75254


                   Regional Multicultural Magnet School
                   1 Bulkeley Place
                   New London, CT 06320


                   Reidy Rhodes Taylor Communications
                   4800 Dell Wood Avenue
                   Jacksonville, FL 32205


                   Reliable Two Way LLC
                   6191 Orange Drive
                   Suite 4466
                   Davie, FL 33314


                   Reliable Two Way LLC
                   23039 Sw 53rd Ave
                   Boca Raon, F; 33433
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                   Relyc Contractor Corp
                   7547 W 24 Ave
                   Suite S-200
                   Hialeah, FL 33016


                   RELYmedia
                   18178 Minnetonka Blvd
                   Suite 100
                   Wayzata, MN 55391


                   Remote Area Medical
                   2200 Stock Creek Blvd.
                   Rockford, TN 37853


                   Ren & Associates, P.C.
                   1100 Clinton Street
                   Apt 301
                   Hoboken, NJ 07030


                   Republic Services
                   751 N.W. 31st Avenue FT.
                   Fort Lauderdale, FL 33311


                   Responsive Communications Services, Inc.
                   1771 Vineyard Dr. Suite 6
                   Antioch, CA 94509


                   Retirement Management Services, LLC
                   905 Lily Creek Road
                   Louisville, KY 40243


                   Reynolds Radio Service, Inc.
                   1611 West Pine Street
                   Warren, AR 71671
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                   RF Inc.
                   315 N. Shary Rd.
                   Suite 1016
                   Mission, TX 78572


                   RFC Wireless, Inc
                   829 Corporate Way
                   Fremont, CA 94539


                   RFT Enterprises, Inc d/b/a HEI Wireless
                   2203 Plaza Drive
                   Benton Harbor, MI 49022


                   RG Sound & Communications, Inc dba RG Co
                   1701 Industrial Drive
                   Celina, OH 45822


                   RI Communications Corp
                   1177 Jefferson Blvd.
                   Suite# C
                   Wawrick, RI 02886


                   Ribenal S.A.
                   J.M. Blanes 1096- CP11200
                   Montevideo, Uruguay


                   Richard Cieslak
                   791 Cascade Dr
                   Marengo, IL 60152


                   Richard Galvan
                   4030 Quartzite Lane
                   San Bernardino, CA 92407
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                   Richard Nogay
                   22 Hillcrest Road
                   Caldwell, NJ 07006


                   Richard Walter
                   4723 Green Spruce Lane
                   Bismarck, ND 58503


                   Richardson Communications, Inc.
                   32705 Highway 43
                   Thomasville, AL 36784


                   Rick Dittlinger
                   14 N. Winchester
                   Benton, MO 63736


                   Ridgeline Communications
                   395 E Ross Ave
                   Driggs, ID 83422


                   Ridgenet Network Group
                   28 Wilson Loop Road
                   Science Hill, KY 42553


                   Rieke Office Interiors
                   2000 Fox Lane
                   Elgin, IL 60123


                   Rio Comm LLC
                   2605 W. Mile 5 RD. Suite B6
                   Mission, TX 78574
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                   Rishi Services LLC
                   PO Box 936052
                   Margate, FL 33093


                   Risinghill Marketing
                   4329 Risinghill Drive
                   Plano, TX 75024


                   Rita Weber
                   10455 Vista Park
                   Dallas, TX 75238


                   Rivcomm, LLC
                   1330 Dodson Way
                   Riverside, CA 92507


                   Robert S. Norell, P.A.
                   300 Nw 70th Avenue
                   Suite 305
                   Fort Lauderdale, FL 33317


                   Rock Communications
                   317 Carroll Cove
                   Clover, SC 29710


                   Rocking Horse Ranch
                   2617 Wingdale Mtn Rd
                   600 Route 44/55
                   Highland, NY 12528


                   Roetzel & Andress
                   222 S. Main Street
                   Akron, OH 44308-1500
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                   Roger Saltsman



                   Roger's Two Way Radio
                   102 Lincoln Ave SE
                   Bemidji, MN 56601


                   Ronald M. Sampson
                   5659 Merino Court
                   Fitchburg, WI 53711


                   Ronald Smith
                   613 South 8th Street
                   Richmond, TX 77469


                   Ronald Stebbeds
                   22234 Bon Heur
                   Saint Clair Shores, MI 48081


                   Rosen Plaza Hotel
                   9840 International Drive
                   Orlando, FL 32819


                   Roth Staffing Companies, LP
                   PO Box 60003
                   Anaheim, CA 92812


                   RSM Plumbing & Air Cond.
                   PO Box 80326
                   Rancho Santa Margarita, CA 92688
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                   Ryan Ousley
                   5707 Stone Village
                   San Antonio, TX 78250


                   Ryan Walker
                   462 Kirkstone Way
                   Las Vegas, NV 89123


                   S.J. Jablonski & Associates
                   303 South Silvertop Lane
                   Raymore, MO 64083


                   Sabisu Telecomunicaciones S de Rl de CV
                   Calle 21 No 117-d por 24 y 24 A Colonia


                   SAF Tehnika JSC
                   24A, Ganibu Dambis
                   Riga, Latvia LV-1005


                   Safe Haven IT, Inc.
                   299 Noble Circle
                   Vernon Hills, IL 60061


                   Salvatore P. Farina
                   9904 Redwing Dr
                   Perry Hall, MD 21128


                   Sam Guan
                   3315 Commerce Parkway
                   Hollywood, FL 33025
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                   Sam's Club
                   -


                   Samlex America, Inc.
                   103-4268 Lozells Avenue
                   Burnaby, BC V5A 0C6 CA


                   Samlex America, Inc.
                   110-17 Fawcett Rd
                   Coquitlam, Canada V3K 6V2


                   Sarnet
                   12300 SW 107 Av
                   Miami, FL 33176


                   SASCO
                   P. O. Box 51903
                   Los Angeles, CA 90051-6203


                   SAT Radio Comm dba Industrial Comm
                   1019 E. Euclid Ave
                   San Antonio, TX 78212


                   Satelradio Telecomunica O LTDA ME
                   Av. Doutor Jo o Guilherminho
                   429 - Sl 74 - Centro -
                   S o Jos dos Campo, Brasil


                   Say Cargo Express
                   700 East Debra Lane
                   Anaheim, CA 92805
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                   ScanSource Latin America
                   1935 NW 87 Ave.
                   Miami, FL 33172


                   ScDataCom LLC
                   50 SE Ocean Boulevard
                   Suite 202A
                   Stuart, FL 34994


                   Schmitty & Sons
                   22750 Pillsbury Avenue
                   Lakeville, MN 55044


                   School District of Spencer
                   300 N. School Street
                   Spencer, WI 54479


                   Scientia Global, Inc.
                   2210 Front Street
                   Suite 204
                   Melbourne, FL 32901


                   Scott Browder
                   614 East 7th St.
                   3d
                   Brooklyn, NY 11218


                   Scott Chaney
                   968 Oasis Dr.
                   Torrance, CA 90502


                   Scott Cox
                   449 Clover Drive
                   Lebanon, IL 62254
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                   Scott Cox
                   627 Garden Blvd.
                   Belleville, IL 62220


                   Scott Oneto
                   75 South Main St.
                   Unit 7#308
                   Concord, NH 03301


                   Scott Rivard
                   57 Underhill Dr
                   Gorham, ME 04038


                   Sean Jeffrey
                   1325 Forestglen Dr
                   Lewisville, TX 75067


                   Seattle Public Library
                   1000 Fourth Avenue
                   Seattle, WA 98104-1109


                   Secretaria De Estado Da Seguranca Public
                   Rua Zadir Indio, 213 Centro
                   Maceio, Brazil 05702-0480


                   Secretary of State



                   Secretary of State
                   Division of Corporations
                   Franchise Tax
                   PO Box 898
                   Dover, DE 19903
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                   Secretary of State - Nevada
                   202 North Carson Street
                   Carson City, NV 89701-4201


                   Secretary of State-CA
                   PO Box 944260
                   Sacramento, CA 94244-2600


                   Secretary of State-IL



                   Securities Exchange Commission
                   Attn.: Bankruptcy Cournsel
                   444 South Flower Street
                   Suite 900
                   Los Angeles, CA 90071-9591


                   Seismic Source Company
                   2391 E.Coleman Rd
                   Ponca City, OK 74604


                   Select Staffing
                   PO Box 512007
                   Los Angeles, CA 90051-0007


                   Select Staffing
                   PO Box 512637
                   Los Angeles, CA 90051


                   Selex ES, A Finmeccanica Company
                   11300 W. 89th Street
                   Overland Park, KS 66214
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                   Self Radio Inc
                   PO Box 76
                   Montague, TX 76251


                   Selma Communications
                   1605 W. Highland Ave
                   Selma, AL 36701


                   Seminole Communications, Inc. d/b/a SCI-
                   P.O. Box 6064
                   Dothan, AL 36302


                   Seminole Wire & Cable Co., Inc.
                   7861 Airport Highway
                   Pennsauken, NJ 08109


                   Seminole Wire & Cable Co., Inc.
                   Burgers Place
                   Wayne, NJ 07474-0248


                   Sepura Mexico, S.A. De C.V.
                   Rub n Dario No 13-2 planta,Colonia Polan


                   Sergio Luna Enterprises Corp.
                   7103 SW 115th. Place
                   Unit D
                   Miami, FL 33173


                   Serv.Tec.De Com. S.A.(SERTECOMSA)
                   Juan Diaz,Calle 3RA, Local 6062
                   Panama, Panama
Case 8:20-bk-11508-TA    Doc 1 Filed 05/26/20 Entered 05/26/20 14:13:48   Desc
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                   Service Communications
                   100 Henderson Road
                   Lafayette, LA 70508


                   Service Communications of Acadiana, Inc.
                   P.O. Box 798
                   Brossard, LA 70518


                   Servicios Troncalizados SA de CV
                   Av. Revoluci n 639, Piso 4
                   Colonia San Pedro de los Pinos Mexico
                   D.F. C.P. 03800


                   SetComm Communications
                   6201 Goldfield Place NE
                   Albuqerque, NM 87111


                   Setronics
                   Diagonal 87 #26 63
                   Bogota, Columbia


                   Shaffer Communications, Inc.
                   2333 N 33rd Street
                   Lincoln, NE 68504


                   Shank Communications
                   105 E. Porter Street
                   Jackson, MS 39201


                   Shannon Peeples
                   813 North Gov. Williams Highway
                   Darlington, SC 29532
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                   Shaun Thompson
                   635 Roberts St
                   Nonroe, WA 98272


                   Shawn Schmidt
                   1916 Wright Blvd
                   Schaumburg, IL 60193


                   Shenzen Qiding Industries Co., Ltd.
                   Room 902
                   Dasheng Building
                   Taohua Road
                   FFTZ, Shenzhen China


                   Sherrill Belew
                   122 Mount Pisgah Road
                   Bradford, TN 38358


                   Shoufeng Chen
                   -


                   Shutterstock, Inc.
                   5505 N Cumberland Ave
                   Suite 307
                   Chicago, IL 60656-4761


                   Siemens Convergence Creators Corp.
                   6080 Center Drive
                   6TH Floor
                   Los Angeles, CA 90045


                   Signal Communication Systems
                   4325 W. Shaw Suite 101
                   Fresno, CA 93722
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                   Signs Now
                   4606 N Hiatus Rd.
                   Sunrise, FL 33351


                   Sijin Xu
                   9132 SW 20th
                   St #E
                   Boca Raon, FL 33428


                   Silke Communications, Inc.
                   71 Mohawk Drive
                   Portsmouth, RI 02871


                   Silke Communications, Inc.
                   1050 Riverside Pkwy
                   Suite #110
                   West Sacramento, CA 95605


                   Silke Communications, Inc.
                   680 Tyler Street
                   Eugene, OR 97402


                   Simon Greene
                   1830 S Dearborn St.
                   Seattle, WA 98144


                   Simon Yin



                   Sinclair Technologies Inc.
                   55 Oriskany
                   Tonawanda, NY 14150
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                   Sinclair Technologies Ltd
                   110-4020 Viking Way
                   Richmond, BC V6V 2L4 CA


                   Sistelec
                   CRA 33 No. 62-34 Conucos
                   Casas, Colombia


                   Sistemas De Instrumentacion Limitada
                   Concha Y Toro No. 65
                   Santiago-Centro, CHILE


                   SJM Industrial Radio
                   1212 E Imperial Ave
                   El Segundo, CA 90245


                   Skytec, Inc.
                   500 Royal Industrial Park E-1 / Engineer
                   Cantano, PR 00969


                   Smart City Networks
                   5795 W. Badura Ave
                   Suite 110
                   Las Vegas, NV 89118


                   Smart City Solutions, LLC
                   5795 W. Badura Ave.
                   Suite 110
                   Las Vegas, NV 89118


                   Smart Toner Miami Corp.
                   7250 W 24 Ave
                   Suite 1
                   Hialeah, FL 33016
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                   Smartel Comunicaciones
                   Luis Battle Berres 8405
                   Montevideo, Uruguay


                   SMD, Inc.
                   43 Warehouse Point Road
                   Wallingford, CT 64292


                   SoCalGas
                   PO Box C
                   Monterey Park, CA 91756-5111


                   Solspace Inc.
                   PO Box 7282
                   Santa Cruz, CA 95061


                   Solution Leading Partner, Inc
                   12150 Bloomfield Ave.
                   Suite S
                   Santa Fe Springs, CA 90670


                   South Florida Fair
                   9067 Southern Blvd
                   West Palm Beach, FL 33411


                   Southern California Edison
                   PO Box 300
                   Rosemead, CA 91771


                   Southern California Shredding, Inc.
                   20492 Crescent Bay Drive
                   Suite 112
                   Lake Forest, CA 92630
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                   Southern Comm. & Consultants
                   2293 Sandersville Road
                   Lexington, KY 40511


                   Southside Communications /TRI-Sport Inc.
                   208 South Dugger Ave
                   Roberta, GA 31078


                   SouthWest Toyota Lift
                   1311 N Blue Gum
                   Anaheim, CA 92806


                   Special Reconnaissance Team One
                   2024 Trident Way BLDG 603
                   San Diego, CA 92155


                   SpectraComm, LLC
                   PO Box 1930
                   Alamosa, CO 81101


                   Spectrum Communications
                   526 S Locust Lane
                   B878
                   Moses Lake, WA 98837


                   Spectrum Tecnologia C.A.
                   Boulevard De Sabana Grande
                   Caracas, Venezuela


                   Spectrum Wireless (USA), Inc.
                   27601 Little Mack Ave
                   Saint Clair Shores, MI 48081
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                   Spectrum Wireless (USA), Inc.
                   27041 Gloede Drive
                   Warren, MI 48088


                   SS&G Management
                   PO Box 8587
                   Mandeville, LA 70471


                   SSC, LLC
                   117 E Main St
                   Elkton, MD 21921


                   St. Mary Sugar Co-Op, Inc.
                   PO Box 269
                   Jeanerette, LA 70544


                   Staci Zweiback
                   4133 Carambola Circle S.
                   #G102
                   Coconut Creek, FL 33006


                   Standard Communications
                   Tankie Leendert #99
                   Oranjestad, Aruba


                   Stanwood-Camano School Dist.
                   26920 Pioneer Hwy
                   Stanwood, WA 98292-9548


                   Staples Business Advantage
                   PO Box 530621
                   Atlanta, GA 30353
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                   Startronics America, Inc
                   1017 Smith
                   Milton, WV 25541


                   State Board of Equalization
                   Special Operations Bankruptcy Team
                   MIC: 74
                   PO Box 942879
                   Sacramento, CA 94287-9007


                   State Board of Equalization
                   Account Information Group, MIC 29
                   PO Box 942879
                   Sacramento, CA 95814-0029


                   State Communications, Inc.
                   145-06 14th Avenue
                   Whitestone, NY 11357


                   State Corporation Commission
                   PO Box 1197
                   Richmond, VA 23218


                   State of Michigan
                   PO Box 30054
                   Lansing, MI 48909


                   State of Michigan
                   Michigan Department of Treasury
                   P.O. Box 37704
                   Lansing, MI 48909


                   State of New Jersey - CBT
                   Po Box 666
                   Trenton, NJ 06846
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                   State Wide Technologies, LLC
                   74 Parkview Street
                   Meriden, CT 06451


                   Stephanie Nelson
                   20 St-Jude
                   Salaberry-de-Vaslleyfield, QC J6S 4S4


                   Stephen Dion
                   107 Butler Ave.
                   Wakefiled, MA 01880


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                   1330 Connecticut Ave. NW
                   Washington, DC 20036


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                   Suite 4700
                   Chicago, IL 60603
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                   Steptoe & Johnson, LLP
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                   Washington, DC 20036-1795


                   Sterling Communications & Electronics
                   3 Square Top Lane
                   Cora, WY 82925


                   Sterling Sugars, LLC
                   609 Irish Bend
                   Franklin, LA 70538


                   Steve Rositano
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                   Utica, NY 13501


                   Steven Cragg
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                   Katy, TX 77494


                   Steven Nielson
                   866 Hickory Valley Ct
                   De Pere, WI 54115


                   Stolz Telecom
                   6825 Camille Ave.
                   Oklahoma City, OK 73149


                   Strobes-R-Us, Inc.
                   812 South Dixie Hwy West
                   Pompano Beach, FL 33060
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                   Suburban Propane
                   P.O. BOX 10851
                   Pompano Beach, FL 33061


                   Suffolk County Communications Inc.
                   305-7 Knickerbocker Ave
                   Bohemia, NY 11716


                   Summit Public Schools
                   14 Beekman Terr
                   Summit, NJ 07901


                   Sun & Ren, PLLC
                   14 Penn Plaza
                   Suite 1517
                   New York, NY 10122


                   Sunbeam Properties, Inc.
                   1401 79th Causeway
                   Miami Beach, FL 33141


                   Sunielkys Sauleda Sierra
                   7931 Sw 104th St
                   APT E 213
                   Miami, FL 33156


                   Sunstate Communications
                   1310 E Canal Street(Hwy 60 east )
                   Mulberry, FL 33860


                   Superior Communications
                   15875 Baker Creer Rd
                   Mcminnville, OR 97128
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                   Sure Response L.L.C
                   27063 Meadow Ridge Dr.
                   Elko, FL 55020


                   Sure-Response, Inc.
                   1075 N Reed Station Road
                   Suite A
                   Carbondale, IL 62902


                   Surplus Two Way Radios LLC
                   1512 S. Grand Ave.
                   Santa Ana, CA 92705


                   Surveillance Unlimited
                   Coral SW-12 Valle Hermoso Sur.
                   Hormigeros, PR 00660


                   Susan Felton
                   3816 Riverton Ave
                   Eagan, MN 55122


                   Suzanne Moore
                   -


                   Swift Prepaid Solutions
                   2150 E. Lake Cook Rd.
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                   Buffalo Grove, IL 60089


                   T & R Communications
                   2333 Kentucky Ave.
                   Bedford, IA 50833
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                   T-Mobile
                   PO Box 790047
                   St. Louis, MO 61379


                   TA Radio Communications
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                   Melbourne, FL 32904


                   Tactical Public Safety LLC
                   199 Edgewood Ave
                   Suite A
                   Berlin, NJ 08091


                   Tactical RF DBA Thompson Communications
                   PO Box 405
                   Pittsboro, IN 46167


                   Talk the Rockies
                   PO Box 211412
                   Denver, CO 80221


                   Talk the Rockies
                   5650 N. Washington Street
                   UNIT C-5
                   Denver, CO 80216


                   Talley
                   12976 Sandoval Street
                   Santa Fe Springs, CA 90670


                   Tammy Lawson
                   1007 Pineridge Road
                   Lexington, NC 27295
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                   Tantasqua Regional
                   320A Brookfield Road
                   Fiskdale, MA 01518


                   TCL Industries, Inc.
                   191 Popular Place North
                   Auroa, IL 60542


                   TCS Communications Corp.
                   P.O. Box 5192
                   Salisbury, MA 01952


                   Team Novo Nordisk
                   2144 Hills Ave
                   Ste A
                   Atlanta, GA 30318


                   Team Six Communications, LLC
                   1112 W. Boughton Rd #235
                   Bolingbrook, IL 60490


                   TeamViewer Germany GmbH
                   P.O.BOX 743135
                   Atlanta, GA 30374-3135


                   Tec America
                   Avenida 19 No 106-37
                   Bogota, Columbia


                   Technical Equip. Dist. (TEDI)
                   PO Box 150290
                   Ogden, UT 84415
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                   Techyparts
                   -


                   Tecnosinergia De RL CV
                   Santo Domingo 220
                   Col Industrial Sa
                   San Antonio Azcapotzalco
                   CDMX C.P. 02760


                   Tecnosinergia S de RL de CV
                   Nueva Santo Domingo 220
                   Azcapotzalco, 02760 Ciudad de
                   San Antonio, Mexico 02760-0000


                   Tekk Comm Communications
                   2361 Williamstown Road
                   Franklinville, NJ 08322


                   TekRF,LLC A Division of Tek-Hut, Inc.
                   460 Main Ave S
                   Twin Falls, ID 83301


                   Teldio Corp
                   390 March Road
                   Suite 110
                   Ottawa, ON K2K 0G7


                   Telecom Communications
                   234 Newtown Rd.
                   Plainview, NY 11801


                   Telecommunications Networks Ltd (East En
                   69 North Shore Rd
                   Hamilton, Bermuda CR01
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                   Teleexpress Inc.
                   406 Interstate Drive
                   High Point, NC 27263


                   Telexpress Inc
                   406 Interstate Drive
                   Archdale, NC 27263


                   Tell Communications
                   6004 77 Street East
                   Palmetto, FL 34221


                   Teltra, Inc.
                   8208 NW 14 Street
                   Miami, FL 33126


                   Teltronic Andina SAS
                   CRA. 9 # 115 06
                   Bogota, Colombia


                   Teltronic Andina SAS
                   Calle 81 #11-68 Of. 413


                   Ten-Four Communications, Inc
                   P.O. Box 579106
                   Modesto, CA 95357


                   Teran International Sociedad Anonima
                   Edf. Teran, Calle Momotombo #888
                   Managua, Nicaragua
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                   Terry Hayworth
                   2001 Sage Dr
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                   Terrycomm
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                   Melbourne, FL 32934


                   Tessco
                   11126 McCormick Road
                   Hunt Valley, MD 21031


                   Testforce
                   114-2015 Midway Road
                   Carrollton, TX 75006


                   Texas 2 Way
                   1330 Sherwood Forest Street B986
                   STE 204
                   Houston, TX 77043


                   Texas Comptroller of Public Accounts
                   P.O. Box 149348
                   Austin, TX 78714-9349


                   Texas Premier Communications
                   300 S. Medford Dr. Suite 104
                   Lufkin, TX 75901


                   TFMComm, Inc.
                   125 SW Jackson Street
                   Topeka, KS 66603
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                   The Breakers
                   One South County Road
                   Palm Beach, FL 33480


                   The Charlie Edwards Company LLC
                   1720 W Kentucky Ave
                   Ruston, LA 71270


                   The Doseum
                   2800 Broadway St
                   San Antonio, TX 78209


                   The Dutch Pot Jamaican Restaurant
                   7301 Pines Blvd
                   Pembrook Pines, FL 33024


                   The Great American Enterprise, Inc. DBA
                   103 Commercial Avenue
                   Carrollton, GA 30117


                   The Hanover Insurance Group
                   -


                   The Hartford
                   Group Benefits Adm
                   Chicago, IL 60675


                   The Radio Shop, Inc.
                   3512 Jackson Hwy.
                   Sheffield, AL 35660
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                   The Rosen PLAZA Hotel
                   9700 International Dr.
                   Orlando, FL 32819


                   The Scotts Company
                   563 S Crown Hill Rd
                   Orrville, OH 44667


                   The Signal Locker
                   Nelson's Dockyard English Harbour,
                   Antiqua West Indies, Antiqua


                   Theresa Starnes
                   B58 Upson Hall
                   Ithaca, NY 14853


                   Thomas E Wessling
                   15350 Sulky Drive
                   #H
                   Homer Glen, IL 60491


                   Tidewater Communications & Electronics
                   509 Viking Drive,
                   Suite A
                   Virginia Beach, VA 23452


                   Times Microwave
                   PO Box 8500-4475
                   Philadelphia, PA 19178-4475


                   Timothy Downey
                   700 S John Rodes Blvd
                   Melbourne, FL 32904
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                   Titan Radio Inc.
                   2181 W. California Avenue
                   Suite 250
                   Salt Lake City, UT 84104


                   TMC Travel Managemen
                   1200 Brickell Avenue
                   Suite 640
                   Miami, FL 33131


                   Toll By Plate
                   PO Box 105477
                   Atlanta, GA 30348


                   Tom Herbert
                   10852 Wiles Road
                   Coral Springs, FL 33076


                   Tom Matthews
                   1455 Stephen Way
                   Southhampton, PA 18966


                   Tom Wineland



                   Tomas Rosales



                   Toney C. Cheng
                   13430 179th Ave NE
                   Redmond, WA 98052
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                   TooJay's Management LLC
                   3654 Georgia Avenue
                   West Palm Beach, FL 33405


                   Torres Electrical Supply
                   3190 S.E. Dominica Terr
                   Stuart, FL 34997


                   TowBoat U.S.
                   254 Loeb Ave.
                   Key Largo, FL 33037


                   Town of South Windsor
                   1540 Sullivan Ave
                   Windsor, CT 06074


                   TPC Stonebrae Country Club
                   202 Country Club Drive
                   Hayward, CA 94542


                   Tracy Lyle
                   7305 May Hall Drive
                   Frisco, TX 75034


                   Trade Risk Guaranty Brokerage
                   211 E. Main Street
                   Suite C
                   Bozeman, MT 59715


                   TradeShow Logisitics
                   1720 Mars Hill Rd
                   Suite 8-160
                   Acworth, GA 30101
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                   Trak Microwave Corp.
                   4726 Eisenhower Blvd
                   Tampa, FL 33634


                   Transend Electronics
                   P.O.B. 427
                   Belize City, Belize


                   Transperfect Holdings, LLC
                   Three Park Avenue, 39th FL
                   New York, NY 10016


                   Travel Solutions International
                   8111 LBJ Freeway
                   Suite 900
                   Dallas, TX 75251


                   TRC Telecom
                   Av Lisboa, 320
                   , BRAZIL


                   Tremonton Radio
                   710 West 375 South
                   Temonton, UT 84337


                   Tri-County Fire Protection, Inc.
                   16641 S. Finley Parkway
                   Lockport, IL 60441


                   Triangle Communications, LLC.
                   2362 Waldheim Avenue
                   Scotch Plains, NJ 07076
Case 8:20-bk-11508-TA    Doc 1 Filed 05/26/20 Entered 05/26/20 14:13:48   Desc
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                   Triangle Security & Communications
                   940 West Main Street
                   New Holland, PA 17557


                   TriCom Service, Inc.
                   P.O. Box 769
                   Lumberton, NC 28359


                   Trinity Relocation Group
                   2300 Palm Beach Lakes Blvd.
                   Suite 301
                   West Palm Beach, FL 33409


                   Triple C Communications
                   96 Inveness Drive East
                   Suite C
                   Englewood, CO 80112


                   Triple C Communications
                   13792 Compark Blvd
                   Unit 100
                   Englewood, CO 80112


                   Triton Datacom
                   20221 NE 16 Pl
                   Miami, FL 33179


                   Triton Technical
                   921 SW Washington Street
                   Suite 712
                   Portland, OR 97205


                   Triton Technical
                   530 Industry Drive
                   Seattle, WA 98188
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                   TRN Communications LLC
                   118 Main St.
                   New Eagle, PA 15067


                   TRS Wireless, Inc.
                   1711 S Division Avenue
                   Orlando, FL 32805


                   Tualatin Valley Water District
                   1850 SW 170th Ave
                   Beaverton, OR 97003


                   TuWay Mobile Communications, Inc
                   2115 City Line Road
                   Bethlehem, PA 18017


                   Twin Eagle Consulting LLC
                   7308 S. Alton Way, Ste.2-J
                   Centennial, CO 80112


                   Two Way Radio of SC, INC.
                   1792 South Lake Drive
                   Suite 90-296
                   Lexington, SC 29073


                   Two-Way Communications, Inc.
                   1704 Justin Road
                   Metairie, LA 70001


                   Two-Way Communications, Inc.
                   4674 S Valley View Blvd
                   Las Vegas, NV 89103
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                   Two-Way Solutions
                   84 Mackey St & Palmdale Ave P.O. Box N-8
                   Nassau, Bahamas


                   Ty Estes



                   Tyco Integrated Security LLC
                   PO Box 371967
                   Pittsburgh, PA 15250


                   U.S. Department of Homeland Security
                   -


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                   30-10 41st. Ave,
                   4th Floor
                   Long Island City, NY 11101


                   Uline
                   PO Box 88741
                   Chicago, IL 60680-1741


                   Uline
                   2200 S. Lakeside Drive
                   Waukegan, IL 60085


                   Ulrich Bus Service, Inc.
                   119212 North Street
                   Stratford, WI 54484
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                   Unicom C.A.
                   CC Forum Etapa 2, Local 4 Av.23 De Enero
                   Barinas, Venzuela 05201-0000


                   Unified Systems Corporation
                   3010 Serenity Lane
                   Naperville, IL 60564


                   United Comm, LLC
                   8341 S.W, 157th Avenue
                   Suite-301
                   Miami, FL 33193


                   United Radio Communications, Inc.
                   9200 South Oketo Avenue
                   Bridgeview, IL 60455


                   United States Treasury
                   -


                   United Technology
                   7965 NW 110th Dr.
                   Parkland, FL 33076


                   UPS - United Parcel Service
                   PO Box 7247-024
                   Philadelphia, PA 19170


                   UPS Freight
                   28013 Network Place
                   Chicago, IL 60673-1221
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                   UPS Supply Chain Solutions, Inc.
                   P.O. Box 34486
                   Louisville, KY 40232


                   US Border Patrol- Intel
                   500 E Mann Rd
                   Suite A Attn: Manuela Lobo
                   Laredo, TX 78041


                   USA Radio Ltd.
                   7701 E. Indian School Rd., Suite F
                   Scottsdale, AZ 85251


                   USCIS



                   UTech USA, INC
                   7965 Nw 110th Dr.
                   Parkland, FL 33076


                   Utilities Technology Council
                   P.O. Box 79358
                   Baltimore, MD 21279


                   V & B Communications
                   16563 M.C.R 3
                   Wiggins, CO 80654


                   VA-KY Communications
                   905 Park Ave NE
                   Norton, VA 24273
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                   Vagabondia Corp. HQ98.com
                   6730 E. Mcdowell Road
                   Suite# 101
                   Scottsdale, AZ 85257


                   Valley View School District
                   801 W Normantown Rd
                   Romeoville, IL 60446


                   Vasu Communications, Inc.
                   P.O. Box 236
                   Avon, OH 44011


                   VCF, Inc dba Valley Communications
                   6720 Thirlane Road
                   Roanoke, VA 24019


                   VEC Supply
                   P.O. Box 1189
                   Charlottesville, VA 22902


                   Veracomca Or Juan Arias
                   6870 Sugarloaf Key Street
                   Lake Worth, FL 33467


                   Vernon Water Pollution Control Dept.
                   PO Box 22 Vernon
                   Rockville, CT 06066


                   Viking Communications
                   9030 W. Schlinger Avenue
                   Milwaukee, WI 53214
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                   Viking Communications
                   1421 S. 62nd Street
                   Milwaukee, WI 53214


                   Village of Schaumburg
                   101 Schaumburg Court
                   Schaumburg, IL 60193-1881


                   Vinayaka Hospitality Oak Brook LLC DBA D
                   1909 Spring Road
                   Oak Brook, IL 60523


                   Vincennes Electronic, Inc d/b/a VEI Comm
                   710 S 13th Street
                   Vincennes, IN 47591


                   Vincennes Electronic, Inc d/b/a VEI Comm
                   973 Old Hopkinsville St.
                   Russellville, KY 42276


                   Vincennes Electronic, Inc d/b/a VEI Comm
                   1026 Main Street
                   Vincennes, IN 47591


                   Vincent Communications
                   5773 E Shields Ave.
                   Fresno, CA 93727


                   Vincent Williams
                   6240 Peach Blossom St
                   East Vale, CA 92880
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                   Virtual CNS Inc
                   8400 N. University Avenue
                   # 108
                   Tamarac, FL 33321


                   Vision Comm - Chevron
                   4501 E Pacific Coast HWY
                   Long Beach, CA 90804


                   Vision Communications
                   PO Box 598
                   Lakewood, CA 90714-0598


                   Vital Communication, Inc.
                   508 N. Central Avenue
                   Suite #105
                   Marshfield, WO 54449


                   Vivian Pan



                   Voceon Chicago, LLC
                   1340 Baur Blvd
                   St. Louis, MO 63132


                   Voceon Digital Radio Communications
                   1219 Price Plaza Suite 200
                   Houston, TX 77449


                   Voceon Digital Wireless Communications
                   1340 Baur Blvd
                   St. Louis, MO 63132
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                   VULCRAFT
                   1501 West Darlington Street
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                   W.C.S.
                   13455 S.W. 107 AVE
                   Miami, FL 33176


                   W.T. Enterprises Inc
                   6333 State Route 1
                   Greenup, KY 41144


                   W.T. Enterprises Inc
                   6333 St Rt 1
                   Argillite, KY 41121


                   Walmsley Associates LLC



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                   6th Floor
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                   St. Louis, MO 63132


                   Warner Radio & Communications, Inc.
                   488 County Road 4228
                   Decatur, TX 76234
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                   PO Box 3594
                   Gettysburg, PA 17325


                   Washington Radio Reports, Inc.
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                   Gettysburg, PA 17325


                   Washington State Dept of Revenue



                   Waste Management
                   PO Box 541065
                   Los Angeles, CA 90054-1065


                   Waste Pro
                   PO Box 865223
                   Orlando, FL 32886


                   Waterfront Concerts
                   275 4th Street
                   Old Town, ME 04468


                   Wave Distribution SAS
                   KM 3.5 Autopista
                   Medellin Terminal DE CA
                   Bodega 32 Cota, Columbia


                   Wavecomm
                   94 Main Street
                   Lebanon, NH 03784
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                   Wayne Redick
                   82 2nd St
                   Waterford, NY 12188


                   WDSL
                   1340 E Evans
                   Pueblo, CO 81004


                   WECO Inc.
                   126 Weco Lane
                   Statevile, NC 28625


                   Wenjie Sun&Associates, P.C.
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                   New York, NY 10122


                   Wesley Gray



                   Westcom
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                   Kensington, PA 15068


                   Westell
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                   Aurora, IL 60504


                   Wheeler Communications
                   900 Nevada-Wynford Road
                   Bucyrus, OH 44820
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                   White Mountain Communications
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                   Pinetop, AZ 85935


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                   Twin Falls, ID 83301


                   Whitecloud Communications
                   333 Valley Street
                   Twin Falls, ID 83301
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                   Whitson Communications of OK
                   106 North Third Street
                   Cheyenne


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                   Greer, SC 29650


                   William Langrock
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                   Whitestone, NY 11357


                   William S. Antonucci
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                   Manfield, MA 02048


                   William Weiss
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                   Oak Ridge, NJ 07438


                   Williams Communications, Inc
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                   Tallahassee, FL 32303


                   Windstream Communications
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                   Chicago, IL 60693


                   Winncomm Technologies Inc
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                   Solon, OH 44139
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